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APPENDIX C
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                                                                                 NCAA 000152
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                            NCAA TRANSGENDER STUDENT-ATHLETE PARTICIPATION POLICY
                 SPORT-SPECIFIC TESTOSTERONE THRESHOLDS AND CHAMPIONSHIP ELIGIBLITY DEADLINES
                                             2023-24 SPRING SPORTS

This document provides Phase Two spring sport testosterone thresholds and championship submission deadlines applicable to the
2023-24 academic year. Total serum testosterone thresholds apply to any transgender woman competing on an NCAA women’s
team.

Note: For academic year 2023-24, established eligibility requirements apply to all NCAA competition, including competition in
both the traditional and nontraditional segments and NCAA championships. It is important to understand that this may require
the submission of eligibility documentation on multiple occasions. Please see the eligibility documentation review process for
additional information.

Note Also: In addition to meeting applicable threshold eligibility requirements, a transgender student-athlete receiving gender-
affirming care that includes an NCAA banned substance is required to comply with the NCAA Medical Exception Policy.


                                Approved Testosterone
            Sport                                            Policy Benchmark              Deadline for Championship Eligibility
                                     Threshold
                                     <10 nmol/L
 Acrobatics and Tumbling                                     USA Gymnastics                NCAA emerging sport for women.
                                    (<288.18 ng/dL)


                                Approved Testosterone
            Sport                                            Policy Benchmark              Deadline for Championship Eligibility
                                     Threshold
      Women’s Beach                  <10 nmol/L
                                                              USA Volleyball                      NC              04/21/2024
        Volleyball                  (<288.18 ng/dL)


                                 Approved Testosterone
            Sport                                            Policy Benchmark              Deadline for Championship Eligibility
                                      Threshold
                                                                                            Division I            04/17/2024
                                     <10 nmol/L                   2015 IOC                  Division II           04/22/2024
       Women’s Golf
                                    (<288.18 ng/dL)        (NGB/IF policy not available)
                                                                                            Division III          05/06/2024


                                                                                                                           NCAA 000155
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                         Approved Testosterone
        Sport                                       Policy Benchmark       Deadline for Championship Eligibility
                              Threshold
                                                                            Division I             04/28/2024
                            <10 nmol/L                                      Division II            04/28/2024
   Women’s Lacrosse                                   USA Lacrosse
                           (<288.18 ng/dL)
                                                                            Division III           04/29/2024

                         Approved Testosterone
        Sport                                       Policy Benchmark        Deadline for Championship Eligibility
                              Threshold
                                                                            Division I             05/07/2024
                             <5 nmol/L                 US Rowing            Division II            05/13/2024
       Rowing
                            (<144.09 ng/dL)
                                                                            Division III           05/06/2024

                        Approved Testosterone
        Sport                                       Policy Benchmark       Deadline for Championship Eligibility
                             Threshold
                                                                            Division I             05/05/2024
                            <10 nmol/L                                      Division II
       Softball                                          WBSC                                      04/29/2024
                           (<288.18 ng/dL)
                                                                            Division III           05/06/2024

                        Approved Testosterone
        Sport                                       Policy Benchmark       Deadline for Championship Eligibility
                             Threshold
                                                                            Division I             04/22/2024
                             <5 nmol/L                                      Division II
   Women’s Tennis                                         ITF                                      04/29/2024
                           (<144.09 ng/dL)
                                                                            Division III           04/29/2024

                        Approved Testosterone
        Sport                                       Policy Benchmark       Deadline for Championship Eligibility
                             Threshold
                                                                            Division I             05/09/2024
Women’s Outdoor Track       <10 nmol/L                  USATF               Division II            05/07/2024
      & Field              (<288.18 ng/dL)
                                                                            Division III           05/12/2024




                                                                                                           NCAA 000156
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                                 Approved Testosterone
            Sport                                              Policy Benchmark         Deadline for Championship Eligibility
                                      Threshold
                                      <2.5 nmol/L
   Women’s Water Polo                                                FINA                       NC              04/22/2024
                                     (<72.05 ng/dL)


DOCUMENT KEY:

Approved Total Serum Testosterone Threshold: This is the threshold, approved by the NCAA Committee on Competitive
Safeguards and Medical Aspects of Sports, that will be used by its CSMAS Medical Review Panel to evaluate the eligibility of a
transgender student-athlete intending to compete in a spring sport.

Policy Benchmark: This is the applicable sport-specific policy benchmark considered by CSMAS in the development of
corresponding NCAA sport-by-sport total serum testosterone threshold levels. Consistent with NCAA Board of Governors’
direction, transgender student-athlete eligibility is to be determined in accordance with the policy established by the national
governing body of the applicable sport in which the student -athlete intends to compete. If there is no NGB policy for that sport,
eligibility requirements consider the policy established by that sport’s international federation. If there is no international
federation policy, eligibility requirements will consider the guidelines developed as part of the November 2015 International
Olympic Committee Consensus Meeting on Sex Reassignment and Hyperandrogenism .

Deadline for Championship Eligibility: This is the last date (one week prior to the championship selection date) by which the
NCAA must receive all required championship eligibility documentation for review by the Medical Review Panel. Please note that
annual eligibility documentation must be received not later than one week prior to the student -athlete’s initial competition in the
traditional or nontraditional segment. This allows the Medical Review Panel sufficient time for review.




                                                                                                                          NCAA 000157
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                      NCAA TRANSGENDER STUDENT-ATHLETE PARTICIPATION POLICY
          SPORT-SPECIFIC TESTOSTERONE THRESHOLDS AND CHAMPIONSHIP ELIGIBLITY DEADLINES
                                         SPRING SPORTS
                                                  (Updated May 2024)

This document provides Phase Two spring sport testosterone thresholds and championship submission deadlines
applicable until further notice. Total serum testosterone thresholds apply to any transgender woman competing on an
NCAA women’s team.

Note: Established eligibility requirements apply to all NCAA competition, including competition in both the traditional
and nontraditional segments and NCAA championships. It is important to understand that this may require the
submission of eligibility documentation on multiple occasions. Please see the eligibility documentation review process
for additional information.

Note Also: In addition to meeting applicable threshold eligibility requirements, a transgender student -athlete receiving
gender-affirming care that includes an NCAA banned substance is required to comply with the NCAA Medical Exception
Policy.


                             Approved Testosterone
           Sport                                        Policy Benchmark                Deadline for Championship Eligibility
                                  Threshold
                                  <10 nmol/L                   2015 IOC
 Acrobatics and Tumbling                                                                  NCAA emerging sport for women.
                                (<288.18 ng/dL)         (NGB/IF policy not available)



                             Approved Testosterone
           Sport                                        Policy Benchmark                Deadline for Championship Eligibility
                                  Threshold
      Women’s Beach               <10 nmol/L
                                                           USA Volleyball                        NC           04/20/2025
        Volleyball              (<288.18 ng/dL)




                                                                                                                      NCAA 000158
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                    Approved Testosterone
     Sport                                     Policy Benchmark       Deadline for Championship Eligibility
                         Threshold
                                                  2015 IOC               Division I           04/16/2025
                         <10 nmol/L
 Women’s Golf                                  (NGB/IF policy not        Division II          04/21/2025
                       (<288.18 ng/dL)
                                                  available)             Division III         04/28/2025

                    Approved Testosterone
     Sport                                     Policy Benchmark       Deadline for Championship Eligibility
                         Threshold
                                                                         Division I           04/27/2025
                         <10 nmol/L
Women’s Lacrosse                                  USA Lacrosse           Division II          05/04/2025
                       (<288.18 ng/dL)
                                                                         Division III         04/28/2025

                    Approved Testosterone
     Sport                                     Policy Benchmark       Deadline for Championship Eligibility
                         Threshold
                                                                          Division I          05/13/2025
                         <2.5 nmol/L
    Rowing                                         US Rowing              Division II         05/12/2025
                        (<72.05 ng/dL)
                                                                          Division III        05/05/2025

                    Approved Testosterone
     Sport                                     Policy Benchmark      Deadline for Championship Eligibility
                         Threshold
                                                                          Division I          05/04/2025
                         <10 nmol/L
    Softball                                         WBSC                Division II          04/28/2025
                       (<288.18 ng/dL)
                                                                         Division III         05/05/2025

                    Approved Testosterone          Policy            Submission Deadline for Championship
    Sport
                         Threshold               Benchmark                        Eligibility
                                                 2015 IOC
                        <10 nmol/L                                  NCAA emerging sport for women. No NCAA
    Stunt                                     (NGB/IF policy not
                      (<288.18 ng/dL)                                           championship.
                                                 available)



                                                                                                   NCAA 000159
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                              Approved Testosterone
           Sport                                          Policy Benchmark       Deadline for Championship Eligibility
                                   Threshold
                                                                                      Division I          04/21/2025
                                   <5 nmol/L
     Women’s Tennis                                               ITF                Division II          04/29/2025
                                 (<144.09 ng/dL)
                                                                                     Division III         04/28/2025

                              Approved Testosterone
           Sport                                          Policy Benchmark       Deadline for Championship Eligibility
                                   Threshold
                                                                                      Division I          05/15/2025
 Women’s Outdoor Track             <10 nmol/L
                                                                 USATF               Division II          05/06/2025
       & Field                   (<288.18 ng/dL)
                                                                                     Division III         05/11/2025

                              Approved Testosterone
           Sport                                          Policy Benchmark       Deadline for Championship Eligibility
                                   Threshold
                                  <2.5 nmol/L
   Women’s Water Polo                                             FINA                     NC             04/21/2025
                                 (<72.05 ng/dL)

DOCUMENT KEY:

Approved Total Serum Testosterone Threshold: This is the threshold, approved by the NCAA Committee on
Competitive Safeguards and Medical Aspects of Sports, that will be used by its CSMAS Medical Review Panel to evaluate
the eligibility of a transgender student-athlete intending to compete in a spring sport.

Policy Benchmark: This is the applicable sport-specific policy benchmark considered by CSMAS in the development of
corresponding NCAA sport-by-sport total serum testosterone threshold levels. Consistent with NCAA Board of
Governors’ direction, transgender student-athlete eligibility is to be determined in accordance with the policy
established by the national governing body of the applicable sport in which the student -athlete intends to compete. If
there is no NGB policy for that sport, eligibility requirements consider the policy established by that sport’s international



                                                                                                                   NCAA 000160
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federation. If there is no international federation policy, eligibility requirements will consider the guidelines developed
as part of the November 2015 International Olympic Committee Consensus Meeting on Sex Reassignment and
Hyperandrogenism.

Deadline for Championship Eligibility: This is the last date (one week prior to the championship selection date) by
which the NCAA must receive all required championship eligibility documentation for review by the Medical Review
Panel. Please note that annual eligibility documentation must be received not later than one week prior to the student-
athlete’s initial competition in the traditional or nontraditional segment. This allows the Medical Review Panel sufficient
time for review.




                                                                                                                 NCAA 000161
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                              NCAA TRANSGENDER STUDENT-ATHLETE PARTICIPATION POLICY
                   SPORT-SPECIFIC TESTOSTERONE THRESHOLDS AND CHAMPIONSHIP ELIGIBLITY DEADLINES
                                                    FALL SPORTS
                                                 (Updated May 2024)

This document provides Phase Two fall sport testosterone thresholds and championship submission deadlines applicable until further
notice. Total serum testosterone thresholds apply to any transgender woman competing on an NCAA women’s team.

Note: Established eligibility requirements apply to all NCAA competition, including competition in both the traditional and
nontraditional segments and NCAA championships. This may require the submission of eligibility documentation on multiple occasions.
Please see the eligibility documentation review process for additional information.

Note Also: In addition to meeting applicable threshold eligibility requirements, a transgender student-athlete receiving gender-
affirming care that includes an NCAA banned substance is required to comply with the NCAA Medical Exception Policy.

                                Approved Testosterone             Policy               Submission Deadline for Championship
           Sport
                                     Threshold                  Benchmark                            Eligibility
                                                                                         Division I              11/09/2024
                                     <10 nmol/L
  Women’s Cross Country                                           USATF                  Division II             11/04/2024
                                   (<288.18 ng/dL)
                                                                                        Division III             11/10/2024

                                Approved Testosterone              Policy              Submission Deadline for Championship
           Sport
                                     Threshold                  Benchmark                             Eligibility
                                                                 2015 IOC                Division I               11/03/2024
                                     <10 nmol/L
       Field Hockey                                           (NGB/IF policy             Division II              11/04/2024
                                   (<288.18 ng/dL)
                                                               not available)            Division III             11/03/2024

                                Approved Testosterone             Policy                Submission Deadline for Championship
           Sport
                                     Threshold                  Benchmark                             Eligibility
                                    <10 nmol/L                                         NCAA emerging sport for women. No NCAA
           Rugby                                                USA Rugby
                                  (<288.18 ng/dL)                                                   championship.




                                                                                                                      NCAA 000162
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                                  Approved Testosterone                Policy              Submission Deadline for Championship
           Sport
                                       Threshold                    Benchmark                            Eligibility
                                                                     2015 IOC                Division I              11/04/2024
                                       <10 nmol/L
      Women’s Soccer                                              (NGB/IF policy            Division II              11/11/2024
                                     (<288.18 ng/dL)
                                                                   not available)           Division III             11/04/2024

                                  Approved Testosterone               Policy          Submission Deadline for Championship Eligibility
           Sport
                                       Threshold                    Benchmark
                                      <2.5 nmol/L                                          NCAA emerging sport for women. No NCAA
          Triathlon                                               World Triathlon
                                    (<288.18 ng/dL)                                                    championship.

                                  Approved Testosterone               Policy               Submission Deadline for Championship
           Sport
                                       Threshold                    Benchmark                            Eligibility
                                                                                             Division I              11/24/2024
                                       <10 nmol/L
    Women’s Volleyball                                            USA Volleyball            Division II              11/18/2024
                                     (<288.18 ng/dL)
                                                                                            Division III             11/10/2024

DOCUMENT KEY:

Approved Total Serum Testosterone Threshold: This is the threshold, approved by the NCAA Committee on Competitive Safeguards
and Medical Aspects of Sports, that will be used by its CSMAS Medical Review Panel to evaluate the eligibility of a transgender student -
athlete intending to compete in a fall sport.

Policy Benchmark: This is the applicable sport-specific policy benchmark considered by CSMAS in the development of corresponding
NCAA sport-by-sport total serum testosterone threshold levels. Consistent with NCAA Board of Governors’ direction, transgender
student-athlete eligibility is to be determined in accordance with the policy established by the national governing body of the applicable
sport in which the student-athlete intends to compete. If there is no NGB policy for that sport, eligibility requirem ents consider the
policy established by that sport’s international federation. If there is no international federation policy, eligibility requ irements will
consider the guidelines developed as part of the November 2015 International Olympic Committee Consensus Meeting on Sex
Reassignment and Hyperandrogenism.

Deadline for Championship Eligibility: This is the last date (one week prior to the championship selection date) by which the NCAA
must receive all required championship eligibility documentation for review by the Medical Review Panel. Please note that annual
eligibility documentation must be received not later than one week prior to the student-athlete’s initial competition in the traditional
or nontraditional segment. This allows the Medical Review Panel sufficient time for review.


                                                                                                                              NCAA 000163
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                              NCAA TRANSGENDER STUDENT-ATHLETE PARTICIPATION POLICY
                   SPORT-SPECIFIC TESTOSTERONE THRESHOLDS AND CHAMPIONSHIP ELIGIBLITY DEADLINES
                                                  WINTER SPORTS
                                                 (Updated May 2024)


This document provides Phase Two winter sport testosterone thresholds and championship submission deadlines applicable until
further notice. Total serum testosterone thresholds apply to any transgender woman competing on an NCAA women’s team.

Note: Established eligibility requirements apply to all NCAA competition, including competition in both the traditional and
nontraditional segments and NCAA championships. It is important to understand that this may require the submission of eligibi lity
documentation on multiple occasions. Please see the eligibility documentation review process for additional information.

Note Also: In addition to meeting applicable threshold eligibility requirements, a transgender student-athlete receiving gender-
affirming care that includes an NCAA banned substance is required to comply with the NCAA Medical Exception Policy.

                               Approved Testosterone
           Sport                                            Policy Benchmark               Deadline for Championship Eligibility
                                    Threshold
                                                                                             Division I           03/09/2025
                                    <10 nmol/L                    2015 IOC                   Division II          03/02/2025
   Women’s Basketball
                                   (<288.18 ng/dL)         (NGB/IF policy not available)
                                                                                             Division III         02/24/2025

                               Approved Testosterone
           Sport                                            Policy Benchmark               Deadline for Championship Eligibility
                                    Threshold
                                    <10 nmol/L                    2015 IOC
     Women’s Bowling                                                                             NC              03/19/2025
                                   (<288.18 ng/dL)         (NGB/IF policy not available)



                                Approved Testosterone
           Sport                                            Policy Benchmark               Deadline for Championship Eligibility
                                     Threshold

                                    <10 nmol/L                    2015 IOC                 NCAA emerging sport for women. No
         Equestrian
                                    (<288.18 ng/dL)        (NGB/IF policy not available)         NCAA championship.




                                                                                                                            NCAA 000164
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                         Approved Testosterone
        Sport                                         Policy Benchmark                Deadline for Championship Eligibility
                              Threshold
                              <10 nmol/L                  USA Fencing
       Fencing                                                                              NC               03/04/2025
                             (<288.18 ng/dL)


                         Approved Testosterone
        Sport                                         Policy Benchmark                Deadline for Championship Eligibility
                              Threshold
                              <10 nmol/L                    2015 IOC
 Women’s Gymnastics                                                                         NC              03/17/2025
                             (<288.18 ng/dL)         (NGB/IF policy not available)



                         Approved Testosterone
        Sport                                         Policy Benchmark                Deadline for Championship Eligibility
                              Threshold
                              <5 nmol/L                International Ice                    NC               03/02/2025
 Women’s Ice Hockey
                             (<144.09 ng/dL)          Hockey Federation                 Division III         03/02/2025

                         Approved Testosterone
        Sport                                         Policy Benchmark                Deadline for Championship Eligibility
                              Threshold
                                                                                        Division I           02/25/2025
Women’s Indoor Track &        <10 nmol/L                       USATF                    Division II          02/25/2025
        Field                (<288.18 ng/dL)
                                                                                        Division III         03/02/2025

                          Approved Testosterone
         Sport                                                                       Policy Benchmark
                               Threshold

  Rifle (Mixed Teams)    No threshold established.                 Mixed team status negates the need for level.


                          Approved Testosterone
        Sport                                         Policy Benchmark                Deadline for Championship Eligibility
                               Threshold
                              <10 nmol/L                    2015 IOC
    Women’s Skiing                                                                          NC               02/18/2025
                              (<288.18 ng/dL)        (NGB/IF policy not available)




                                                                                                                    NCAA 000165
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                                 Approved Testosterone
            Sport                                             Policy Benchmark         Deadline for Championship Eligibility
                                      Threshold
                                                                                         Division I             02/26/2025
   Women’s Swimming &                 <5 nmol/L                USA Swimming              Division II            02/19/2025
         Diving                      (<144.09 ng/dL)
                                                                                         Division III           02/19/2025

                                 Approved Testosterone
            Sport                                             Policy Benchmark         Deadline for Championship Eligibility
                                      Threshold

                                      <10 nmol/L                                       NCAA emerging sport for women. No
     Women’s Wrestling                                          USA Wrestling
                                     (<288.18 ng/dL)                                         NCAA championship.

DOCUMENT KEY:

Approved Total Serum Testosterone Threshold: This is the threshold, approved by the NCAA Committee on Competitive
Safeguards and Medical Aspects of Sports, that will be used by its CSMAS Medical Review Panel to evaluate the eligibility of a
transgender student-athlete intending to compete in a winter sport.

Policy Benchmark: This is the applicable sport-specific policy benchmark considered by CSMAS in the development of corresponding
NCAA sport-by-sport total serum testosterone threshold levels. Consistent with NCAA Board of Governors’ direction, transgender
student-athlete eligibility is to be determined in accordance with the policy established by the national governing body of the
applicable sport in which the student-athlete intends to compete. If there is no NGB policy for that sport, eligibility requirem ents
consider the policy established by that sport’s international federation. If there is no international federation policy, eli gibility
requirements will consider the guidelines developed as part of the November 2015 International Olympic Committee Consensus
Meeting on Sex Reassignment and Hyperandrogenism.

Deadline for Championship Eligibility: This is the last date (one week prior to the championship selection date) by which the
NCAA must receive all required championship eligibility documentation for review by the Medical Review Panel. Please note that
annual eligibility documentation must be received not later than one week prior to the student -athlete’s initial competition in the
traditional or nontraditional segment. This allows the Medical Review P anel sufficient time for review.




                                                                                                                          NCAA 000166
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NCAA Inclusion of
Transgender Student-Athletes




              Office of Inclusion

AUGUST 2011

                                                    NCAA Inclusion of Transgender Student-Athletes — 1

                                                                                 NCAA 000167
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  As a core value, the NCAA believes in and is committed to diversity, inclusion and gender eq-
  uity among its student-athletes, coaches and administrators. We seek to establish and main-
  tain an inclusive culture that fosters equitable participation for student-athletes and career
  opportunities for coaches and administrators from diverse backgrounds. Diversity and inclu-
  sion improve the learning environment for all student-athletes and enhance excellence within
  the Association.

  The Office of Inclusion will provide or enable programming and education, which sustains
  foundations of a diverse and inclusive culture across dimensions of diversity including, but not
  limited to age, race, sex, national origin, class, creed, educational background, disability, gen-
  der expression, geographical location, income, marital status, parental status, sexual orienta-
  tion and work experiences.

  Adopted by the NCAA Executive Committee, April 2010


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                                                                                             NCAA 000168
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         The purpose of this resource is to provide guidance to NCAA athletic programs about how to ensure trans-
gender student-athletes fair, respectful, and legal access to collegiate sports teams based on current medical and legal
knowledge. It provides best practice and policy recommendations for intercollegiate athletic programs to provide
transgender student-athletes with fair and equal opportunities to participate. In addition to specific policy recom-
mendations for college athletics, the resource provides guidance for implementing these policies to ensure the safety,
privacy, and dignity of transgender student-athletes as well as their teammates. Specific best practice recommenda-
tions are provided for athletic administrators, coaches, student-athletes and the media.

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Vilain, M.D., Ph.D., Professor of Human Genetics, Pediatrics and Urology, Director of the Center for Gender-Based
Biology and Chief of Medical Genetics in the UCLA Department of Pediatrics, member of the International Olympic
Committee medical advisory board; R. Nick Gorton, M.D., Emergency Medicine Physician, Sutter Davis Hospital,
Primary Care Provider, Lyon- Martin Women’s Health Services–San Francisco, Medical-Legal Consultant for transgen-
der health care for Lambda Legal, the Transgender Law Center, the Northwest Justice Project, the New York Legal Aid
Society, National Center for Lesbian Rights Sports Project and the Sylvia Rivera Law Project; Lori Kohler, M.D., Medical
Director of the Family Health Center at San Francisco General Hospital.
         Providing review related to the legal rights of transgender student-athletes in the context of the
broader legal status of transgender rights in the United States: Lambda Legal; American Civil Liberties Union;
Transgender Law Center; National Center for Transgender Equality; Gay and Lesbian Advocates and Defenders;
National Center for Lesbian Rights.
         Providing expertise regarding National Collegiate Athletic Association rules, regulations and procedures
related to drug testing, eligibility requirements, and gender equity: Karen Morrison, Director for Gender Inclu-
sion Initiatives; Mary Wilfert, Associate Director, Health and Safety.
        Providing a voice and sharing the experience of being a transgender student-athlete: Keelin Godsey,
Track and Field, Rugby, Bates College, 2006, Northeastern College, 2010; Morgan Dickens, Basketball and
Rugby, Cornell University, 2008, Ithaca College, 2009; Kye Allums, Women’s Basketball, George Washington
University, Class of 2012.




2 — NCAA Inclusion of Transgender Student-Athletes
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 INTRODUCTION
What Does Transgender Mean?
         “Transgender” describes an individual whose gender identity (one’s internal psychological identification
as a boy/man or girl/woman) does not match the person’s sex at birth. For example, a male-to-female (MTF)
transgender person is someone who was born with a male body, but who identifies as a girl or a woman. A
female-to-male (FTM) transgender person is someone who was born with a female body, but who identifies as
a boy or a man.1
         It is important that all people recognize and respect the transgender person’s identification as a man
or a woman. In order to feel comfortable and to express their gender identity, transgender people may take
a variety of steps: changing their names and self-referencing pronouns to better match their gender identity;
choosing clothes, hairstyles, or other aspects of self-presentation that reflect their gender identity; and gen-
erally living, and presenting themselves to others, consistently with their gender identity. Some, but not all,
transgender people take hormones or undergo surgical procedures to change their bodies to better reflect
their gender identity.
         Some people are confused by the difference between transgender people and people who have in-
tersex conditions. The key feature of being transgender is having a psychological identification as a man or a
woman that differs from the person’s sex at birth. Apart from having a gender identity that is different than
their bodies, transgender people are not born with physical characteristics that distinguish them from oth-
ers. In contrast, people with intersex conditions (which may also be called a “Disorders of Sex Development”),
are born with physically mixed or atypical bodies with respect to sexual characteristics such as chromosomes,
internal reproductive organs and genitalia, and external genitalia.2
         An increasing number of high school- and college-aged young people are identifying as transgender (or
trans), meaning that their internal sense of their gender identity is different from the gender they were as-
signed at birth. These students challenge educators to rethink an understanding of gender as universally fixed
at birth. Educators must be open to this challenge to create educational institutions that value and meet the
needs of all students. Once we recognize that transgender young people are part of school communities across
the United States, educational leaders have a responsibility to ensure that these students have access to equal
opportunities in all academic and extracurricular activities in a safe and respectful school environment.

For a more complete list of definitions and terms related to transgender people, refer to Appendix A.

STEPHANIE BRILL
Executive Director, Gender Spectrum
            “There are more and more transgender children today who, even at
               young ages, are allowed to live their lives in alignment with who they
               are. As it becomes common medical procedure to allow these chil-
               dren to transition in childhood, athletic policies need to reflect this
               change in the landscape of student-athletes.”




                                                                           NCAA Inclusion of Transgender Student-Athletes — 3
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        Athletics programs are widely accepted as integral parts of the college experience. The benefits of ath-
letics participation include many positive effects on physical, social, and emotional well-being. Playing sports
can provide student-athletes with important lessons about self-discipline, teamwork, success, and failure—as
well as the joy and shared excitement that being a member of a sports team can bring.
        For some students, playing on collegiate sports teams leads to future careers in athletics as competi-
tors, coaches, administrators, and athletic trainers. All students, including those who are transgender, deserve
access to these benefits.
        Though the needs of transgender college students have received some attention in recent years, this
issue has not been adequately addressed in the context of athletics. Few collegiate athletics programs, ad-
ministrators, or coaches have been prepared to fairly, systematically, and effectively address a transgender
student’s interest in participating in athletics. The majority of intercollegiate athletics programs have no policy
governing the inclusion of transgender student-athletes, and most coaches have not received any direction
for accommodating a transgender student who wants to play on a sports team. In fact, most intercollegiate
athletics programs have not received the information to address even basic accommodations such as knowing
what pronouns or names to use when referring to a transgender student, where a transgender student should
change clothes for practice or competition, or what bathroom or shower that student should use.
        The best practices and recommended policies within this resource will provide athletics administrators
and others involved in intercollegiate athletics with the information and tools to support participation of trans-
gender student-athletes and create environments that respect students from all backgrounds.




4 — NCAA Inclusion of Transgender Student-Athletes
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 PART ONE
Overview
This section provides an overview of issues related to providing participation opportunities for transgender
student-athletes by addressing the following questions:

        • Why must we address transgender issues in athletics?
        • Why focus on college athletics?
        • Should the participation of transgender student-athletes raise concerns about competitive
        equity?
        • What are the benefits of adopting fair and inclusive policies?


Why Must We Address Transgender Issues in
Collegiate Athletics Programs?
         Educators must address transgender issues in athletics for several reasons. First and foremost, core
values of equal opportunity and inclusion demand that educational leaders adopt thoughtful and effective poli-
cies that enable all students to participate fully in intercollegiate athletics programs. Over the course of many
years, schools have learned and continue to appreciate the value and necessity of accommodating the sport
participation interests of students of color, women, students with disabilities, and lesbian, gay, and bisexual
students. These are all issues of basic fairness and equity that demand the expansion of our thinking about
equal opportunity in sports. The right of transgender students to participate in sports calls for similar consider-
ations of fairness and equal access.
         Additionally, as more states, localities, and schools add gender identity and expression to their non-
discrimination policies, and as more courts hold that sex discrimination laws protect transgender people, trans-
gender students and their parents are increasingly empowered to insist that athletics programs accommodate
transgender students (see Part Four: Appendix C for a compilation of state and federal laws, regulations, and
legal decisions prohibiting discrimination based on gender identity/expression). To avoid decision-making that
perpetuates discrimination, school leaders must be proactive in adopting policies that are consistent with
school non-discrimination policies and state and federal laws prohibiting discrimination based on gender iden-
tity or expression (see Appendix A for definitions of gender identity and gender expression).
         Though the number of transgender students is small, research indicates that their number is grow-
ing. As the number of people who come out as transgender as teenagers and children increases, so too do
     3

the numbers of parents who support their transgender children and advocate for their rights to safety and fair
treatment. In response to these demands, college leaders must be prepared to accommodate the educational
needs and protect the rights of transgender students.
         To respond to these realities, athletics conferences and individual universities/colleges are well advised
to proactively adopt policies and best practices that provide equal opportunities for transgender students to
participate on sports teams. Moreover, in the spirit of encouraging sports participation for all, it is the right
thing to do.
         In order to design effective policies, educators must understand that gender is a core part of everyone’s
identity and that gender is more complex than our society generally acknowledges. Learning about the experi-
ence of transgender people can help us to see more clearly how gender affects all of our lives, and to put that
knowledge into practice in order to better serve all students.
         Addressing the needs of transgender students is an important emerging equal opportunity issue that
must be taken seriously by school leaders. Because a more complex understanding of gender may be new and

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challenging for some people, there is a danger that misinformation and stereotypes rather than accurate and
up-to-date information will guide policy decisions. Campus and athletics administrators who are charged with
policy development need guidance to avoid including misconceptions and misinformation in policies that, ulti-
mately, create more problems than they solve.

 Lea Robinson
 Associate Director, Office of Multicultural Affairs, Columbia University
 American Association of University Women (AAUW)
 (former coach and athlete)
             “During my coaching career, there was little discussion of the existence of
                transgender student-athletes and few resources for those student-ath-
                    letes that did identify as transgender.
                In my own experience, the few students that I did suspect may have identified
                    as transgender weren’t really able to come out in those settings because
                    of a lack of support within their athletic communities as well as a real lack
                    of resources, education, and safe spaces.
                I believe that the implementation of supportive policies would signify a
                    commitment to the support and acceptance of transgender-identified
                     student-athletes and coaches, and aid in creating more spaces for dia-
                     logue and education within the culture of athletics regarding issues and
                     challenges facing transgender student-athletes.
                Those policies will also give transgender student-athletes and coaches the
                   guidance, support, encouragement, and sense of safety they need to
                   pursue what can sometimes be a very difficult journey.”


Why Focus on College Athletics?
         Providing equal opportunities in all aspects of school programming is a core value in education. As an
integral part of higher educational institutions, college athletics programs are responsible and accountable for
reflecting the goals and values of the educational institutions of which they are a part. It follows that athletics
programs must reflect the value of equal opportunity in all policies and practices.
         A core purpose of college is to teach students how to participate and be good citizens in an increasingly
diverse society and how to interact respectfully with others. In addition, college athletics programs impose lim-
its on how many years a student-athlete can compete that do not exist in adult sporting competitions, where
athletes can compete as long as their performances are viable or, in the case of most amateur sports, as long
as they wish to. Intercollegiate athletics provides a unique opportunity to provide particpation opportunities
for all students regardless of race, religion, sexual orientation or gender expression.
         As a core value, the NCAA believes in and is committed to diversity, inclusion and gender equity among
its student-athletes, coaches and administrators. The NCAA seeks to establish and maintain an inclusive culture
that fosters equitable participation for student-athletes and career opportunities for coaches and administra-
tors from diverse backgrounds. Diversity and inclusion improve the learning environment for all student-ath-
letes and enhance excellence within the Association.
         The NCAA Office of Inclusion provides or enables programming and education, which sustains founda-
tions of a diverse and inclusive culture across dimensions of diversity including, but not limited to age, race,
sex, class, national origin, creed, educational background, disability, gender expression, geographical location,
6 — NCAA Inclusion of Transgender Student-Athletes
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income, marital status, parental status, sexual orientation and work experiences. In keeping with those values
of inclusion, the NCAA encourages thoughtful development of policies and practices that provide fair participa-
tion opportunities for all student-athletes, including transgender individuals.


Should the Participation of Transgender Student-Athletes
Raise Concerns About Competitive Equity ?
         Concern about creating an “unfair competitive advantage” on sex-separated teams is one of the most
often cited reasons for resistance to the participation of transgender student-athletes. This concern is cited
most often in discussions about transgender women competing on a women’s team. Some advocates for
gender equality in college sports are concerned that allowing transgender women—that is, male-to-female
transgender athletes who were born male, but who identify as female—to compete on women’s teams will
take away opportunities for women, or that transgender women will have a competitive advantage over other
women competitors.
         These concerns are based on three assumptions: one, that transgender women are not “real” women
and therefore not deserving of an equal competitive opportunity; two, that being born with a male body auto-
matically gives a transgender woman an unfair advantage when competing against non-transgender women;
and three, that men might be tempted to pretend to be transgender in order to compete in competition with
women.
         These assumptions are not well founded. First, the decision to transition from one gender to the
other—to align one’s external gender presentation with one’s internal sense of gender identity—is a deeply
significant and difficult choice that is made only after careful consideration and for the most compelling of
reasons. Gender identity is a core aspect of a person’s identity, and it is just as deep seated, authentic, and real
for a transgender person as for others. Male-to-female transgender women fully identify and live their lives as
women, and female-to-male transgender men fully identify and live their lives as men.
         Second, some people fear that transgender women will have an unfair advantage over non-transgender
women. It is important to place that fear in context.
         Transgender girls who medically transition at an early age do not go through a male puberty, and there-
fore their participation in athletics as girls does not raise the same equity concerns that arise when transgen-
der women transition after puberty.
         Transgender women display a great deal of physical variation, just as there is a great deal of natural
variation in physical size and ability among non-transgender women and men. Many people may have a stereo-
type that all transgender women are unusually tall and have large bones and muscles. But that is not true. A
male-to-female transgender woman may be small and slight, even if she is not on hormone blockers or taking
estrogen. It is important not to overgeneralize. The assumption that all male-bodied people are taller, stronger,
and more highly skilled in a sport than all female-bodied people is not accurate.4

DR. NICK GORTON
American Board of Emergency Medicine, Medical Legal Consultant,
Trans Health Care
            “Transgender student-athletes fall within the spectrum of physical traits
                found in athletes of their transitioned gender, allowing them to com-
                pete fairly and equitably.”




                                                                            NCAA Inclusion of Transgender Student-Athletes — 7
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         It is also important to know that any strength and endurance advantages a transgender woman argu-
ably may have as a result of her prior testosterone levels dissipate after about one year of estrogen or testos-
terone-suppression therapy. According to medical experts on this issue, the assumption that a transgender
woman competing on a women’s team would have a competitive advantage outside the range of performance
and competitive advantage or disadvantage that already exists among female athletes is not supported by
evidence.
        Finally, fears that men will pretend to be female to compete on a women’s team are unwarranted
given that in the entire 40 year history of “sex verification” procedures in international sport competitions, no
instances of such “fraud” have been revealed.5 Instead, rather than identifying men who are trying to fraudu-
lently compete as women, “sex verification” tests have been misused to humiliate and unfairly exclude women
with intersex conditions.6 The apparent failure of such tests to serve their stated purpose of deterring fraud—
and the terrible damage they have caused to individual women athletes—should be taken into account when
developing policies for the inclusion of transgender athletes.
        Educators in collegiate athletics programs must develop thoughtful and informed practices that provide
opportunities for all students, including transgender students, to participate in sports. These practices must be
based on sound medical science, which shows that male-to-female transgender athletes do not have any au-
tomatic advantage over other women . These practices must also be based on the educational values of sport
and the reasons why sport is included as a vital component of the educational environment: promoting the
physical and psychological well-being of all students, and teaching students the values of equal opportunity,
participation, inclusion, teamwork, discipline, and respect for diversity.

What Are the Benefits of Adopting Inclusive Practices
Regarding Transgender Student-Athletes?
        All stakeholders in NCAA athletics programs will benefit from adopting fair and inclusive practices
enabling transgender student-athletes to participate on school sports teams. School-based sports, even at
the most competitive levels, remain an integral part of the process of education and development of young
people, especially emerging leaders in our society. Adopting fair and inclusive participation practices will allow
school and athletics leaders to fulfill their commitment to create an environment in which all students can
thrive, develop their full potential, and learn how to interact with persons from diverse groups.

 JILL PILGRIM
 Precise Advisory Group, Principal Counsel
 Former General Counsel & Drug Testing Program Administrator
 Ladies Professional Golf Association
            “Colleges need to adopt transgender student-athlete accommodation
                policies to remedy the silent suffering of young people who have the
                     right to participate and enjoy the same activities that all other stu-
                     dents have access to, without being discriminated against.”




8 — NCAA Inclusion of Transgender Student-Athletes
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          Many schools and athletics departments identify diversity as a strength and have included sexual orienta-
tion and gender identity/expression in their non-discrimination policies. Athletics departments and personnel are
responsible for creating and maintaining an inclusive and non- discriminatory climate in the areas they oversee.
Adopting inclusive participation practices provides school athletics administrators with a concrete opportunity to
fulfill that mandate and demonstrate their commitment to fair play and inclusion.
          Moreover, when all participants in athletics are committed to fair play, inclusion, and respect, student-
athletes are free to focus on performing their best in athletic competition and in the classroom. This climate
promotes the well-being and achievement potential of all student-athletes. Every student-athlete and coach
will benefit from meeting the challenge of overcoming fear and prejudice about social groups of which they are
not members. This respect for difference will be invaluable to all student-athletes as they graduate and enter an
increasingly diverse workforce in which knowing how to work effectively across differences is a professional and
personal asset.
          The benefits of school sports participation include many positive effects on physical, social, and emotional
well-being. All students, including those who are transgender, deserve access to these benefits.7 When athletics
departments adopt inclusive policies, they are living up to the educational values of equality that join them with
the broad institutional and societal ideal of inclusion and respect for differences.




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 PART TWO
Recommendations for Including
Transgender Student-Athletes

         This section of the resource includes:
          • Guiding Principles
          • Recommended Policy for College Athletics
          • Additional Guidelines for Transgender Student-Athlete Inclusion


Guiding Principles
        Policies governing the participation of transgender student-athletes should be informed by the follow-
ing principles, and be included in the institution’s transgender student-athlete policy statement:
        1. Participation in intercollegiate athletics is a valuable part of the education experience for all students.
        2. Transgender student-athletes should have equal opportunity to participate in sports.
        3. The integrity of women’s sports should be preserved.
        4. Policies governing sports should be based on sound medical knowledge and scientific validity.
        5. Policies governing sports should be objective, workable, and practicable; they should also be written,
available and equitably enforced.
        6. Policies governing the participation of transgender students in sports should be fair in light of the
tremendous variation among individuals in strength, size, musculature, and ability.
        7. The legitimate privacy interests of all student-athletes should be protected.
        8. The medical privacy of transgender students should be preserved.
        9. Athletics administrators, staff, parents of athletes, and student-athletes should have access to sound
and effective educational resources and training related to the participation of transgender and gender-variant
students in athletics.
        10. Policies governing the participation of transgender students in athletics should comply with state
and federal laws protecting students from discrimination based on sex, disability, and gender identity and ex-
pression.


Policy Recommendations for Collegiate Athletics
       Policy development governing the inclusion of transgender student-athletes is an emerging endeavor.
As new research on the participation of transgender athletes and the physiological effects of gender transition
on athletic performance becomes available, policies may need to be re-evaluated to ensure that they reflect
the most current research-based information.




10 — NCAA Inclusion of Transgender Student-Athletes
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KEELIN GODSEy
Former Student-Athlete, Bates College 2006, Northeastern College, 2010

  I was 18 when I started to figure out I was transgender, but the thought of telling
       anyone was absolutely frightening. I didn’t have the support system I needed
       and I didn’t know how it would impact my track and field career.
  I started researching rules and regulations for transgender athletes, and while I was
       able to find a policy from the International Olympic Committee, I couldn’t find
       anything that would apply to me at the collegiate level. I later found out it was
       because they didn’t have any policies.
   I also tried to find information about transgender athletes, which, at the time, was like trying to find a
       needle in a haystack. I became very fearful that you couldn’t be transgender and a champion collegiate
       athlete at the same time. This fear, the lack of policies and information about successful transgender
       athletes, and the fact that I was the track team’s biggest scorer and a national contender each year,
       caused me to hold off on coming out as transgender for almost three years. I was so afraid of losing
       everything I had worked so hard to accomplish in track and field and that I would no longer be able to
       compete in something that defined me as much as being transgender does.
  But by the end of my junior year I couldn’t hide who I was anymore. I felt I had no choice but to face the
       consequences head on and come out as FTM. I was afraid if I didn’t, I wouldn’t make it through my
       senior year. I started by coming out to a professor/mentor. This wasn’t too hard, but I knew that I had
       to come out to the athletic director, and that getting his/ her support was imperative in order for my
       “transition” of names and pronouns to work and my continued participation on the women’s track and
       field team to go smoothly.
  At the time, my track team had a new head coach, and I was really nervous about how she was going to re-
       spond. But after having a long talk with her it was clear that she understood and that she was there to
       help. Together, we were able to think through how my coming out might affect the team, and come up
       with the best plan for telling my teammates. When I came out to the team, I wasn’t met with the fear
       and hate that I was expecting. In fact, it was the complete opposite. My team was awesome. The only
       thing that was said was, “Please forgive us if we slip on the pronouns while we adjust.” And, to tell the
       truth, I don’t think I ever once heard them slip up on pronouns.
  Everyone’s biggest concern was how my transition was going to be received outside of Bates, as, at that
       time, the NCAA didn’t have any rules or guidelines about transgender athletes. Since I was already a
       national champion in the Women’s Hammer Throw, as well as holding the DIII national record as an 11-
       time all-American, we knew my coming out was very much going to be a public event. Unfortunately,
       things went less smoothly off-campus than on. I was extremely lucky though to have the support of my
       teammates and my coach, who helped me succeed despite all of the outside stresses I experienced as
       an FTM competing at the national level on a women’s team. My teammates were the first to defend me
       when people were being hateful, when the media was stalking me or when I was repetitively accused
       of cheating despite all of my clean drug (testosterone) tests. I had chosen to forego any medical tran-
       sitioning to remain on my women’s team. My team was also there to share in the positive things that
       happened as a result of my coming out.




                                                                        NCAA Inclusion of Transgender Student-Athletes — 11
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NCAA Bylaws related to
hormonal treatment and mixed teams.
      Two areas of NCAA regulations can be impacted by transgender student-athlete participation: use of
banned substances and mixed team status.
       A mixed team is a varsity intercollegiate sports team on which at least one individual of each gender
competes. (Revised: 5/8/06). NCAA Bylaw 18.02.2 for purposes of meeting the required minimums set forth
in Bylaws 18.2.3 and 18.2.4, a mixed team shall be counted as one team. A mixed team shall count toward the
minimum sponsorship percentage for men’s championships.
                   • NCAA rules state that a male participating in competition on a female team makes the team
                   a “mixed team.” The mixed team can be used for sports sponsorship numbers (provided other
                   conditions, such as being an acceptable NCAA sport, outlined in Bylaw 20.9 (Division I), 20.10
                   (Division II) and 20.11 (Division III) are met) and counts toward the mixed/men’s team mini-
                   mums within the membership sports-sponsorship requirements. Such a team is ineligible for a
                   women’s NCAA championship but is eligible for a men’s NCAA championship.
                   • A female on a men’s team does not impact sports sponsorship in the application of the rule-
                   the team still counts toward the mixed/men’s numbers. Such a team is eligible for a men’s
                   NCAA championship.
                   • Once a team is classified as a mixed team, it retains that status through the remainder of the
                   academic year without exception.
        NCAA Bylaw 31.2.3 identifies testosterone as a banned substance, and provides for a medical exception
review for demonstrated need for use of a banned medication. It is the responsibility of the NCAA institution
to submit the request for a medical exception (see www.ncaa.org/drugtesting) for testosterone treatment
prior to the student-athlete competing while undergoing treatment. In the case of testosterone suppression,
the institution must submit written documentation to the NCAA of the year of treatment and ongoing monitor-
ing of testosterone suppression.




12 — NCAA Inclusion of Transgender Student-Athletes
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NCAA Policy on Transgender Student-Athlete Participation
The following policies clarify participation of transgender student-athletes undergoing hormonal treatment for
gender transition:
1.     A trans male (FTM) student-athlete who has received a medical exception for treatment with testoster-
       one for diagnosed Gender Identity Disorder or gender dysphoria and/or Transsexualism, for purposes
       of NCAA competition may compete on a men’s team, but is no longer eligible to compete on a wom-
       en’s team without changing that team status to a mixed team.
2.     A trans female (MTF) student-athlete being treated with testosterone suppression medication for
       Gender Identity Disorder or gender dysphoria and/or Transsexualism, for the purposes of NCAA com-
       petition may continue to compete on a men’s team but may not compete on a women’s team without
       changing it to a mixed team status until completing one calendar year of testosterone suppression
       treatment.8

eric vilain
M.D., Ph.D., Professor, Director of the Center for Gender-Based Biology and
Chief Medical Genetics Department of Pediatrics, UCLA
           “Research suggests that androgen deprivation and cross sex hormone
               treatment in male-to-female transsexuals reduces muscle mass; ac-
               cordingly, one year of hormone therapy is an appropriate transitional
               time before a male-to-female student-athlete competes on a women’s
               team.”


Any transgender student-athlete who is not taking hormone treatment related to gender transition may par-
ticipate in sex-separated sports activities in accordance with his or her assigned birth gender.
        • A trans male (FTM) student-athlete who is not taking testosterone related to gender transition may
participate on a men’s or women’s team.
       • A trans female (MTF) transgender student-athlete who is not taking hormone treatments related to
gender transition may not compete on a women’s team.




                                                                        NCAA Inclusion of Transgender Student-Athletes — 13
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Additional considerations
The student’s responsibilities

1.       In order to avoid challenges to a transgender student’s participation during a sport season, a student-
         athlete who has completed, plans to initiate, or is in the process of taking hormones as part of a
         gender transition should submit the request to participate on a sports team in writing to the director of
         athletics upon matriculation or when the decision to undergo hormonal treatment is made.
2.       The request should include a letter from the student’s physician documenting the student-athlete’s
         intention to transition or the student’s transition status if the process has already been initiated. This
         letter should identify the prescribed hormonal treatment for the student’s gender transition and docu-
         mentation of the student’s testosterone levels, if relevant.

The school’s responsibilities

1.       The director of athletics should meet with the student to review eligibility requirements and procedure
         for approval of transgender participation.
2.       If hormone treatment is involved in the student-athlete’s transition, the director of athletics should
         notify the NCAA of the student’s request to participate with a medical exception request.
3.       To assist in educating and in development of institutional policy and practice, a Transgender Participa-
         tion Committee should be established. Members of the committee should represent a cross section of
         the institutional staff with student well-being interests, and include representation from the following
         departments: office of general counsel, health and counseling, faculty/academic affairs, and athletics.
4.       All discussions among involved parties and required written supporting documentation should be kept
         confidential, unless the student-athlete makes a specific request otherwise. All information about an
         individual student’s transgender identity and medical information, including physician’s information
         provided pursuant to this policy, shall be maintained confidentially.




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     PAR T THREE
Best Practices and Guidelines for Inclusion of
Transgender Student-Athletes

        Part Three describes best practices — the actions that coaches, administrators and student-athletes
can take to assure the inclusion of transgender student-athletes. Although these practices specifically address
transgender student-athletes, they can be used to address discrimination based on other factors as well, such
as race, religion, class, and sexual orientation.
        The first part of this section describes general best practices for everyone. The next sections identify
best practices recommended specifically to athletics administrators, coaches, student-athletes, and athletics
staff who interact with the media.

MORGAN DICKENS
Former Basketball, Rugby Student-Athlete,
Cornell University 2008, Ithaca College 2009
           “There are differences between being male and female, but being gen-
              der fluid doesn’t mean I reject these differences, it just means I’m
              rejecting the idea that I have to be defined one way or another. The
              clear delineation between male and female in the sporting world
              doesn’t leave room for someone like me. When I started presenting
                in a more masculine way, I was ostracized in girls’ locker rooms, told
                I was in the wrong bathroom, and even once had my gender ques-
                tioned during a co-ed intramural football game. Because athletics are
                such an important part of my life, I deal with these and other inequal-
                ities and misunderstandings. While I’m prepared to handle it, my con-
                cern is there aren’t many other people out there who are prepared
                and willing to engage in a dialogue about the presence of gender fluid
                athletes in sport.”


Overall Best Practices
1.     Provide Equal Opportunity — Colleges and universities often have legal obligations to provide equal op-
       portunity to student-athletes and to personnel, including coaches. All those involved in athletics should
       be aware of these obligations, and treat them as core values, guiding policies and practices. Transgen-
       der discrimination may be a part of a systemic problem where the broader environment is unfriendly or
       discriminatory toward lesbian, gay, bisexual, and transgender people. This can negatively affect all men
       and women who participate in athletic competition. If discrimination is accepted as part of the common
       practices of an athletics department, this will undermine the core principle of equal opportunity.
2.     Value Diversity — In creating guidelines or best practices for including transgender student-athletes,
       it is important to place this conversation in the context of the athletics department’s broad commit-
       ments to safety, fairness, and respect for all participants. It helps when athletics department leader-
       ship, including coaches, value all aspects of diversity. Collegiate athletics provides an opportunity for
       students to compete with and against others who come from different races, cultures, religions, sexual

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         orientations, gender identities and expressions, and social classes, but all of whom share the common
         goal of achieving athletic excellence. Valuing this common ground enhances the social and competi-
         tive experience for all. Athletics administrators should make their commitment to valuing diversity
         explicit in media interviews and other public speaking opportunities as well as in meetings with athlet-
         ics department staff. That diversity-valuing approach then shapes and informs activities throughout the
         athletics department and is conveyed to coaches and student-athletes. Everyone should also under-
         stand how these core values are important to team success and to individual team member develop-
         ment. Teams that value each member’s contribution to the unit, while respecting individual differences,
         provide a foundation for the whole team and each member of the team to focus on achieving their
         athletic and academic goals.
3.       Establish policy — When diversity values are explicit, athletics departments, institutions, state, and
         national governing organizations are in a position to develop specific policy statements that reflect a
         commitment to these values. These policy statements, if followed, protect schools, administrators,
         student-athletes, and coaches from litigation and other negative consequences. Coaches should know
         that they may have a transgender student-athlete on their teams and should be equipped to make that
         experience a positive one for the athlete and teammates. Parents should communicate the importance
         of these values in meetings with prospective coaches and athletics administrators. Student-athletes can
         discuss these values with new team members and in public speaking opportunities.

 LAURIE PRIEST
 Chair of Physical Education and Director of Athletics,
 Mt. Holyoke College
            “It is imperative that administrators and coaches provide a safe and
                     inclusive environment so that all student-athletes can participate and
                     achieve success. Being aware of appropriate laws can help us to devel-
                     op policies and implement practices to assure that all of our students
                     are treated with respect.”



Best Practices for Athletics Administrators
        Best practices for athletics administrators focus on policy development, discrimination prevention,
education, enforcement procedures, and consequences. These best practices will be helpful to a wide range of
athletics administrators in organizations including colleges and universities, collegiate sport-governing organi-
zations, coaches associations, and athletics conferences.
 1.     If the school does not have an inclusive non-discrimination and harassment policy, work with other
        school administrators to adopt a policy that includes gender identity and expression.
 2.     Respect the right to privacy of all student-athletes with respect to personal information (including
        whether a student is transgender) when discussing gender identity and expression and understand that
        all medical information must be kept confidential in accordance with applicable state, local, and federal
        privacy laws.
 3.     Become knowledgeable about collegiate non-discrimination and harassment policies that include gen-
        der identity and expression.
 4.     Include gender identity and expression in departmental non-discrimination statements on all official
        department documents and web sites.
 5.     Become aware of state and federal non-discrimination laws that prohibit discrimination based on gen-
        der identity and expression (see Part 4 Appendix C for a list of relevant federal and state laws).
 6.     Adopt an effective and fair athletics departmental policy addressing the participation of transgender
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 Jennifer ‘Jay’ hartshorn
 Track and Field Coach, Bates College
                “I think it’s important for us to be aware there are transgender student-
                    athletes who want to compete, and with a little preparation, including
                    transgender athletes isn’t a big deal .”




Best Practices for Student-Athletes
        Best practices for student-athletes who have transgender teammates focus on respectful behavior,
safety, and valuing diversity.
1.      Use respectful and preferred language and terminology when discussing transgender student-athlete
        participation or interacting with a transgender teammate.
2.      Become familiar with departmental and school policy governing the participation of transgender
        student-athletes in athletics.
3.      Learn about school non-discrimination and harassment policies that include gender identity and ex-
        pression.
4.      Encourage other student-athletes to use respectful language when discussing transgender issues in
        sports or interacting with a transgender student-athlete.
5.      Respect the right to privacy of all student-athletes with respect to personal information (including
        whether a student is transgender) when discussing gender identity and expression.
6.      Ask your coach and director of athletics for team and departmental educational training concerning
        transgender student-athlete participation.
7.      If taunting or harassment from spectators or opponents occurs during competition, take the approach
        that these actions are never acceptable for any reason including taunting or harassment based on gen-
        der identity or expression. Make your coaches aware of discriminatory or harassing behavior and ask
        them to arrange a meeting with the opposing school’s director of athletics to address this behavior.
8.      Ask your student-athlete advisory committee to plan an activity that focuses on the participation of
        transgender athletes in sports and frame the issue as one of equal opportunity in sports and fair treat-
        ment for all.




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Kye Allums, 2008-11, class of 2012
Women’s NCAA Division I Basketball Student-Athlete
George Washington University

         Coming to the realization that I am a transgender man has been an incredible and mind-blowing
             experience. I had to overcome a lot of mental blocks to get there, but when I got to college and
             had my first taste of independence, I was finally able to come to terms with how I truly felt and
             what I needed.
         Growing up, I felt that I had to hide a part of my self from my family because of my mother’s strong
             beliefs against homosexuality. That was really stressful for me. After I graduated from high
             school, I moved away from my family. That gave me the space to figure out who I am, which
             turned out to be the best thing that ever happened to me.
         When I first had the feeling of being uncomfortable when someone would call me a “lady,” I did
             some research to try to figure out what that feeling could possibly mean. The first thing that
             I came across was the term “transsexual,” which is when a person’s sex doesn’t match their
             gender identity and they have taken the steps possible, like surgery and hormones, so that their
             sex and gender will match. I read about many different terms and definitions and the one that
             I could relate to the most was “transgender,” which just means that your gender and your body
             don’t match.
         After I had a word to describe what I was feeling, I started getting extremely distressed when other
             people would refer to me as “she,” or hearing people refer to me and a group of women as
             “ladies,” or seeing the label “women’s” outside my locker room. The feeling of having someone
             call you something that you know you are not is the most frustrating, uncomfortable feeling ever.
             During my first and second year of college, I kept hearing those terms applied to me and feel-
             ing worse and worse about it. A pain built up in my stomach and chest as if there were a ton of
             bricks weighing on me and my emotions. I felt trapped and miserable—I learned that the medi-
             cal term is “dysphoric”—because I could not escape the way people saw me, because the body
             that I was born in did not match my gender.
         Even though I was feeling so bad, it was very hard for me to build up enough courage to say any-
             thing, because I was afraid that other people wouldn’t accept me. After freshmen year I told my
             closest teammates that I identify as a guy. At first they laughed and thought it was a joke, and I
             couldn’t bring myself to correct them. But over time, it got to the point where it was unbearable
             to keep living like this. For a while I felt like I had to choose between playing basketball or quitting
             to transition into the person I want to become. But I didn’t want to walk out on playing a game
             that I love, and that has afforded me a full scholarship to pay for my education. So I finally began
             correcting my friends and teammates every time they would refer to me as “she” or “her.”
         When my friends and close teammates saw the pain and sadness it caused me when people re-
             ferred to me using female pronouns, they began to use male pronouns and to correct others for
             me. Their respect for what I wanted to be called meant the world to me and still does. Without
             their support I would not be playing basketball right now.
         My teammates’ support made a huge difference, but of course they could not be with me all the
             time to correct everyone. I didn’t feel comfortable correcting people on my own all the time, be-
             cause I would have to explain the entire story of why I wanted to be called a guy. I felt depressed
             by the constant reminders that I was “Ms. Allums” every time I had to show my identification: at
             the doctor’s office, the gym, the bank, restaurants, stores, and pretty much anywhere I went.
         So I decided to take the steps needed to get my name changed so I could have some kind of tan-
             gible proof that I was becoming the man I knew I was. That process took four months, and it
             was very difficult and time-consuming, but the day it was done I was the happiest guy alive.
         The happiness wore off the next day, though, when I heard my coaches still using female pro-
             nouns. I knew then that it wasn’t enough to only tell my closest friends—I had to tell everyone
             that I talked to on a daily basis. Once I made the difficult decision to tell my coaches, the rest
             of my teammates, and my family, I received nothing but support from them, which has been
             irreplaceable. With the love and respect of the people around me, I no longer feel like I have
             to choose between being true to myself and staying in school playing the sport I love.

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Best Practices for Athletics Staff Interacting With Media
About Transgender Student-Athlete Issues
Best practices for interacting with the media focus on the importance of understanding basic information
       about transgender identity, preferred terminology, and respecting confidentiality of student-athletes.
1.     The school or athletics department should provide training to all athletics staff who may interact with
       the media.
2.     Respect the confidentiality of all student-athletes when discussing transgender issues with the media
       and understand that all medical information must be kept confidential in accordance with applicable
       state, local, and federal privacy laws.
3.     Use appropriate language in media interviews or presentations and insist that this terminology be used
       in media reports on transgender issues in athletics.
4.     Focus on the importance of providing equal opportunities for all students to participate in athletics.
5.     Describe how departmental policies provide equal opportunities for all students to participate in athletics.

Additional Guidelines for Transgender Student-Athlete Inclusion
       The following additional guidelines will assist colleges, athletics departments, coaches, teams, and
student-athletes in creating an environment in which all student-athletes are safe and fairly treated.

Facilities Access
1.       Changing Areas, Toilets, Showers — Transgender student-athletes should be able to use the locker
         room, shower, and toilet facilities in accordance with the student’s gender identity. Every locker room
         should have some private, enclosed changing areas, showers, and toilets for use by any athlete who de-
         sires them. When requested by a transgender student-athlete, schools should provide private, separate
         changing, showering, and toilet facilities for the student’s use, but transgender students should not be
         required to use separate facilities.
2.       Competition at Another School — If a transgender student-athlete requires a particular accommoda-
         tion to ensure access to appropriate changing, showering, or bathroom facilities, school leaders, ath-
         letic directors, and coaches, in consultation with the transgender student-athlete, should notify their
         counterparts at other schools prior to competitions to ensure that the student has access to facilities
         that are comfortable and safe. This notification should maintain the student’s confidentiality. Under
         no circumstances should a student-athlete’s identity as a transgender person be disclosed without the
         student’s express permission.
3.       Hotel Rooms — Transgender student-athletes generally should be assigned to share hotel rooms based
         on their gender identity, with a recognition that any student who needs extra privacy should be accom-
         modated whenever possible.
Language
1.    Preferred Names — In all cases, teammates, coaches and all others in the school should refer to trans-
      gender student-athletes by a student’s preferred name.
2.    Pronouns — Similarly, in all cases, pronoun references to transgender student-athletes should reflect
      the student’s gender and pronoun preferences.

Dress Codes and Team Uniforms
1.     Dress Codes—Transgender student- athletes should be permitted to dress consistently with their gen-
       der identities. That is, a female-to-male transgender athlete should be permitted to dress as a male. A
       male-to-female should be permitted to dress as a female.
       For reasons unrelated to trans-inclusion, schools should evaluate the necessity of gendered dress codes

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       and recognize that they tend to marginalize a range of students who may not feel comfortable with
       them. Dress codes for athletic teams when traveling or during a game day at school should be gender-
       neutral. Instead of requiring a girls’ or women’s team to wear dresses or skirts, for example, ask that
       team members wear dresses or slacks that are clean, neat, well cared for and appropriately “dressy” for
       representing their school and team.
2.     Uniforms — All team members should have access to uniforms that are appropriate for their sport and
       that they feel comfortable wearing. No student should be required to wear a gendered uniform that
       conflicts with the student’s gender identity.

Education
1.     Institutions — All members of the university community should receive information and education
       about transgender identities, institutional and conference non-discrimination policies, the use of pre-
       ferred names and pronouns, and expectations for creating a respectful team and school climate for all
       students, including transgender and gender-variant students.
2.     Athletics Conference Personnel — Athletics conference leaders should be educated about the need for
       policies governing the participation of transgender student-athletes, develop such policies, and ensure
       that all schools in the conference understand and adopt the policies.
3.     Opposing Teams/Universities — Without violating a transgender student’s confidentiality or privacy,
       school leaders, athletic directors, and coaches should communicate with their counterparts at other
       schools prior to competitions in which a transgender athlete is participating about expectations for
       treatment of transgender student-athletes on and off the field. This does not require “outing” or oth-
       erwise identifying a particular student-athlete as transgender, but rather establishing general expecta-
       tions for the treatment of all student-athletes, including those who may be transgender.

Media
1.    Training — All school or athletics representatives (conference leaders, sports information departments
      and personnel, school leaders, athletics administrators, team members, and coaches) who are autho-
      rized to speak with the media should receive information about appropriate terminology, use of names
      and pronouns, and school and athletics conference policies regarding the participation of transgender
      student-athletes on school sports teams.
2.    Confidentiality — Protecting the privacy of transgender student-athletes must be a top priority for all
      athletics department and affiliated school personnel, particularly when in the presence of the media.
      All medical information shall be kept confidential in accordance with applicable state, local, and federal
      privacy laws.

Enforcement and non-Retaliation
1.     Enforcement — Any member of an athletics department who has been found to have violated this
       policy by threatening to withhold athletic opportunity or harassing any student on the basis of their
       gender identity or expression, or by breaching medical confidentiality, will be subject to disciplinary ac-
       tion, up to and including discharge or expulsion from the school. The athletics department should take
       appropriate remedial action to correct the situation. Any member of the athletics department who be-
       comes aware of conduct that violates this policy should report the conduct to the appropriate official
       such as the director of athletics.
2.     Retaliation — Retaliation is specifically forbidden against anyone who complains about discrimination
       based on gender identity or expression, even if the person was in error. Athletics departments should
       take steps to prevent any retaliation against any person who makes such a complaint.




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 PART FOUR
Appendix A
Definitions and Terminology: A Word About Words
         Language has immense power to shape our perceptions of other people. Using accurate language can
help to overcome many of the misperceptions associated with gender and transgender people. Although the
vocabulary related to transgender people continues to evolve, here are some working definitions and examples
of frequently used (and misused) terms.
         biological/Anatomical Sex — The physical characteristics typically used to assign a person’s gender at
birth, such as chromosomes, hormones, internal and external genitalia and reproductive organs. Given the po-
tential variation in all of these, biological sex must be seen as a spectrum or range of possibilities rather than
a binary set of two options.
         Gender — The complex relationship between physical traits and one’s internal sense of self as male, fe-
male, both or neither as well as one’s outward presentations and behaviors related to that perception. Biologi-
cal sex and gender are different; gender is not inherently connected to one’s physical anatomy
         Gender Identity — One’s inner concept of self as male or female or both or neither. One’s gender iden-
tity can be the same or different than the gender assigned at birth. Most people become conscious of their
gender identity between the ages 18 months and 3 years. Most people have a gender identity that matches
their assigned gender at birth. For some, however, their gender identity is different from their assigned gender.
Some of these individuals choose to live socially as the other gender and may also hormonally and/or surgi-
cally change their bodies to more fully express their gender identity. All people have gender identity, not just
transgender people.
         Gender Expression — Refers to the ways in which people externally communicate their gender identity
to others through behavior, clothing, haircut, voice, and other forms of presentation. Gender expression also
works the other way as people assign gender to others based on their appearance, mannerisms, and other
gendered characteristics. Many transgender people seek to make their external appearance—their gender
expression—congruent with their internal gender identity through clothing, pronouns, names, and, in some
cases, hormones and surgical procedures. All people have gender expression, not just transgender people.
         Transgender — Sometimes used as an ‘umbrella term’ to describe anyone whose identity or behavior
falls outside of stereotypical gender norms. More narrowly defined, it refers to an individual whose gender
identity does not match their assigned birth gender. Being transgender does not imply any specific sexual ori-
entation (attraction to people of a specific gender.) Therefore, transgender people may additionally identify as
straight, gay, lesbian, or bisexual.
         Sexual Orientation — Term that refers to being romantically or sexually attracted to people of a spe-
cific gender. Our sexual orientation and our gender identity are separate, distinct parts of our overall identity.
Although a child may not yet be aware of their sexual orientation, they usually have a strong sense of their
gender identity.
         Genderqueer — This term represents a blurring of the lines around gender identity and sexual orienta-
tion. Genderqueer individuals typically reject notions of static categories of gender and embrace a fluidity of
gender identity and sexual orientation. This term is typically assigned an adult identifier and not used in refer-
ence to preadolescent children.
         Gender Nonconforming/Gender Variant — Refers to individuals whose behaviors and/or interests fall
outside what is considered typical for their assigned gender at birth. Someone who identifies as “gender noncon-
forming” is not necessarily transgender. To the contrary, many people who are not transgender do not conform to
gender stereotypes in their appearance, clothing, physical characteristics, interests, or activities.
         Gender Fluidity — Gender fluidity conveys a wider, more flexible range of gender expression, with
interests and behaviors that may even change from day to day. Gender fluid individuals do not feel confined by
restrictive boundaries of stereotypical expectations of girls or boys.
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        Intersex — An estimated one in 2,000 babies is born with an “intersex” condition or Disorders of Sex
Development (DSD). People with intersex conditions (DSD) are born with physically mixed or atypical bodies
with respect to sexual characteristics, i.e. chromosomes, internal reproductive organs, and genitalia. These
characteristics may not be visible and individuals may not be aware of the condition. Having an intersex condi-
tion does not necessarily affect a person’s gender identity.
        FTM (female-to-Male)/Affirmed male/transboy — A child or adult who was assigned to the female
gender at birth but has a male gender identity.
        mTf (Male-to-female)/Affirmed female/transgirl — A child or adult who was assigned to the male
gender at birth but has a female gender identity.
        Transition — The process by which a transgender individual lives consistently with his or her gender
identity, and which may (but does not necessarily) include changing the person’s body through hormones and/
or surgical procedures. Transition can occur in three ways: social transition through changes in clothing, hair-
style, name and/or pronouns; hormonal transition through the use of medicines such as hormone “blockers”
or cross hormones to promote gender-based body changes; and/or surgical transition in which an individual’s
body is modified through the addition or removal of gender-related physical traits. Based on current medical
knowledge and practice, genital reconstructive surgery is not required in order to transition. Most transgender
people in the United States do not have genital reconstructive surgery.
        Transsexual — An individual whose gender identity does not match the person’s sex at birth. This
individual usually desires to physically alter their bodies surgically and/or hormonally. This physical transition
is a complicated, multi-step process that may take years and may include, but is not limited to, cross-gender
hormone therapy and a variety of surgical procedures. The precise treatments required vary from person to
person.
        Transphobia — Fear or hatred of transgender people. Transphobia is manifested in a number of ways,
including violence, harassment, and discrimination.




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 PArT FoUr
Appendix B
Resources On Transgender Issues
Print Resources (Books, Articles, Reports)

AthletesCAN, the Canadian Centre for Ethics in Sport, and the Canadian Association for the Advancement of Women
and Sport and Physical Activity, Promising Practices: Working With Transitioned/Transitioning Athletes in Sport (2009).

Including Transitioning and Transitioned Athletes in Sport — Issues, Facts and Perspectives - Summary. Brenda Wag-
man (February 12, 2009). Available online at http://www.caaws.ca/e/resources/pdfs/Summary_Transition_Discus-
sion_Paper_FINAL1%20(2).pdf.

Including Transitioning and Transitioned Athletes in Sport - Issues, Facts and Perspectives — DISCUSSION PAPER.
Brenda Wagman (February 12, 2009). Available online at http://www. caaws.ca/e/resources/pdfs/Wagman_discus-
sion_paper_THE_fINAL.pdf.

Working with Transitioning or Transitioned Athletes in Sport - Emerging Themes. Rachel Corbett (May 26, 2009).
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Social Science Literature on Sport and Transitioning/Transitioned Athletes - LITERATURE REVIEW. Kevin B. Wamsley
(February 2008). Available online at http://www.caaws.ca/e/ resources/pdfs/Wamsley_lit_review(2).pdf.

Do Transitioned Athletes Compete at an Advantage or Disadvantage - LITERATURE REVIEW. Michaela C. Devries (may
18, 2008). Available online at http://http:.caaws.ca/e/ resources/pdfs/Devries_lit_review(2).pdf.

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of-Transgender-Athletes-on-Sports-Teams.aspx.



24 — NCAA Inclusion of Transgender Student-Athletes
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Realities: The Experiences of Transgender Youth in our Nation’s Schools (2009).

Lambda Legal, Bending the Mold: An Action Kit for Transgender Students (2009). Available online at
http://www.lambdalegal.org/publications/bending-the-mold/order-bending-the-mold.html.

Movement Advancement Project, Advancing Transgender Equality: A Guide for LGBT Organizations and
Funders (2009). Available online at http://www.lgbtmap.org/advancing- transgender-equality.html.

National Center for Transgender Equality, Understanding Transgender: Frequently Asked Questions about
Transgender People (2009).
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Jim Meyerhoff, Assistant Executive Director
435 main Avenue South, Renton, WA 98057
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state, local and territorial governments enact legislation prohibiting discrimination on the basis of actual or
perceived gender identity or expression, in employment, housing and public accommodations. For more infor-
mation visit www.abanet.org/leadership/2006/annual/dailyjournal/hundredtwentytwob.doc.

Advocates for Informed Choice — Legal advocacy organization dedicated to promoting the civil rights of chil-
dren with intersex conditions or disorders of sex development. www.aiclegal.org

American Civil Liberties Union (ACLU) — The ACLU Lesbian, Gay, Bisexual, Transgender Project fights discrimi-
nation and moves public opinion through the courts, legislatures and public education across five issue areas:
Relationships, Youth & Schools, Parenting, Gender Identity and Expression and Discrimination in Employment,
Housing and other areas. www.aclu.org/lgbt-rights


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American Medical Association (AMA) — The AMA is a medical professional association whose mission is to
promote the art and science of medicine and the betterment of public health. The AMA has adopted a num-
ber of policies supporting the right of transgender and gender-non-conforming persons to be free from dis-
crimination on the basis of their gender identity or expression. www.ama-assn.org

American Psychological Association (APA) — In 2008, the APA Council of Representatives adopted a policy
statement supporting “the passage of laws and policies protecting the rights, legal benefits, and privileges of
people of all gender identities and expressions;” and as well as supporting “efforts to provide safe and secure
educational environments, at all levels of education.” www.apa.org/about/governance/council/policy/trans-
gender.aspx

Gay and Lesbian Advocates and Defenders Transgender Rights Project — Through the Transgender Rights
Project (TRP), Gay and Lesbian Advocates and Defenders puts litigation, legislative, and educational assets to
work in a focused way to establish clear legal protections for the transgender community. www.glad.org

Gay, Lesbian and Straight Education Network — The Gay, Lesbian and Straight Education Network strives to
assure that each member of every school community is valued and respected regardless of sexual orientation
or gender identity/expression. www.glsen.org

Gender Spectrum — Gender Spectrum provides education, training and support to help create a gender sensi-
tive and inclusive environment for all children and teens. www.genderspectrum.org

It Takes A Team! Education Campaign for LGBT Issues in Sport — A Women’s Sports Foundation initiative, It
Takes A Team! Education Campaign for Lesbian, Gay, Bisexual, and Transgender Issues in Sport is an education
project focused on eliminating homophobia as a barrier to all women and men participating in sport. www.
ittakesateam.org

Lambda Legal — Lambda Legal is a national organization committed to achieving full recognition of the civil
rights of lesbians, gay men, bisexuals, transgender people and those with HIV through impact litigation, educa-
tion and public policy work. www.lambdalegal.org

National Center for Lesbian Rights — NCLR is a national legal organization committed to advancing the civil
and human rights of lesbian, gay, bisexual, and transgender people and their families through litigation, public
policy advocacy, and public education. www.nclrights.org

National Center for Transgender Equality — The National Center for Transgender Equality is a
social justice organization dedicated to advancing the equality of transgender people through advocacy, col-
laboration and empowerment. www.transequality.org

NCAA Office of Inclusion — www.ncaa.org/lgbt

National Gay and Lesbian Task force — The mission of the National Gay and Lesbian Task Force is to build the
grassroots power of the LGBT community by training activists, equipping state and local organizations with the
skills needed to organize broad-based campaigns to defeat anti-LGBT referenda and advance pro-LGBT legisla-
tion, and building the organizational capacity of the movement. www.thetaskforce.org

Parents and Friends of Lesbians and Gays-TNET — The purpose of this special affiliate of PFLAG is to pro-
mote the health and well-being of transgender persons, their families and friends through: support, to cope
with an adverse society; education, to enlighten an ill- informed public; and advocacy, to end discrimination
and to secure equal civil rights. PFLAG TNET focuses on support for transgender people and their parents,
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families, and friends; education on transgender facts and issues; and advocacy for equal rights for the trans-
gender
community at local and national levels. www.pflag.org/tnet

Transgender Law Center — Transgender Law Center (TLC) connects transgender people and their families to
culturally competent legal services, increases acceptance and enforcement of laws and policies that support
California’s transgender communities, and works to change laws and systems that fail to incorporate the needs
and experiences of transgender people. www.transgenderlawcenter.org

Transgender Law and Policy Institute — Transgender Law and Policy Institute (TLPI) is a non- profit organiza-
tion dedicated to engaging in effective advocacy for transgender people in our society. The TLPI brings experts
and advocates together to work on law and policy initiatives designed to advance transgender equality. www.
transgenderlaw.org

World Professional Association for Transgender Health (WPATH) — WPATH is an international, interdisciplin-
ary organization of professionals from fields of psychiatry, endocrinology, surgery, law, psychology, sociology,
and counseling. WPATH publishes the internationally recognized Standards of Care for Gender Identity Disor-
ders, an evolving consensus on best practice in the provision of medical treatments for individuals with Gen-
der Identity Disorder. www.wpath.org


VIDEOS
Straightlaced: How Gender’s Got Us All Tied Up
Straightlaced: How Gender’s Got Us All Tied Up takes a powerful and intimate look at how popular pressures
around gender and sexuality are shaping the lives of American teens. The film proudly showcases the diverse
and unscripted voices of more than 50 high school students from a variety of different communities, all of
whom speak with breathtaking honesty, insight, and humor about gender roles and their struggles to be who
they really are. More information on the film is available at www.groundspark.org/our-films-and-campaigns/
straightlaced

Transgender Student-Athlete
A 30-minute video presentation sponsored by the NCAA and conducted by Dr. Betsy Crane, Widener University,
http://s3.amazonaws.com/ncaa/web_video/diversity_inclusion/transgenderSA.html. Dr. Crane presents a sex
educator’s expertise on gender awareness and diversity, and provides definition to assist the veiwer in under-
standing best practices for including transgender students in athletics participation.




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   PArT FoUr:
Appendix C
Legal Status of Transgender People
Federal, state, and local laws prohibit discrimination on the basis of gender identity/expression. In addition,
many K-12 and collegiate educational institutions have adopted non-discrimination policies that include gender
identity/expression. Each school or school district should be knowledgeable about specific legal requirements
that apply and make sure that all school athletic staff understand their responsibilities to abide by and enforce
these laws.

federal Protections

        Title IX of the Education Amendments of 1972 — The purpose of Title IX is to address sex discrimi-
nation in schools. This federal law also addresses discrimination or harassment in schools based on gender
stereotypes.9 As described by the Department of Education’s Office for Civil Rights guideance in 2010, when
gender non-conforming or transgender students are targeted on the basis of their gender expression, Title IX
may provide the basis for legal recourse.10 Schools are responsible for developing educational programs, pre-
ventative policy and grievance procedures to address sexual harassment, bullying and assault.
        EqUAL PROTECTION CLAUSE Of THE fOURTEENTH AMENDMENT Of THE UNITED STATES CON-
STITUTIoN — The Equal Protection clause states that “no state shall … deny to any person within its juris-
diction the equal protection of the laws.”11 Several successful cases involving allegations of harassment and
discrimination against lesbian, gay, bisexual, and transgender students and staff in public schools have been
based on the Equal Protection clause.12
        The Employment Non-Discrimination Act (ENDA) — ENDA is a bill that was introduced in the 111th
U.S. Congress in 2009.13 If passed into law, ENDA would provide basic protections against workplace discrimi-
nation on the basis of sexual orientation or gender identity. The bill is closely modeled on existing civil rights
laws, including Title VII of the Civil Rights Act of 1964 and the Americans with Disabilities Act. ENDA prohibits
public and private employers from using an individual’s sexual orientation or gender identity as the basis for
employment decisions, such as hiring, firing, promotion or compensation. ENDA also applies to federal, state,
and local government employees.
        The Matthew Shepard and James byrd, Jr. Hate Crimes Prevention Act (HCPA) — The HCPA gives the
Department of Justice (DOJ) the power to investigate and prosecute bias-motivated violence by providing the
DOJ with jurisdiction over crimes of violence where a perpetrator has selected a victim because of the person’s
actual or perceived race, color, religion, national origin, gender, sexual orientation, gender identity or disability.14
Furthermore, the HCPA requires the Federal Bureau of Investigation to track statistics on hate crimes.15

State of Non-Discrimination Law

         As of July 2010, 13 states and the District of Columbia16 have enacted non-discrimination laws prohib-
iting discrimination on the basis of sexual orientation and gender identity or expression: California,17 Colo-
rado,18 Hawaii,19 Illinois,20 Iowa,21 Maine22, Minnesota,23 New Jersey,24 New Mexico,25 Oregon,26 Rhode
Island,27 Vermont,28 and Washington.29
         Eight additional states have enacted laws prohibiting discrimination based on sexual orientation only:
Connecticut, Delaware, Maryland, Massachusetts, Nevada, New Hampshire, New York, and Wisconsin.30
         Additionally, courts and administrative bodies in seven states have interpreted state laws against sex
discrimination to prohibit discrimination against transgender and gender nonconforming people: California,
Connecticut, Florida, Massachusetts, New Jersey, New York, and Pennsylvania. Courts and administrative bod-
ies in seven states have also held that transgender people are protected by state laws prohibiting discrimina-
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tion based on disability or medical condition: Florida, Illinois, Massachusetts, New Hampshire, New Jersey,
New York, and Washington.31

State Student rights Laws

       In addition to these federal protections, as of July 2010, twelve states and the District of Columbia32
have enacted laws protecting students in schools from discrimination or harassment on the basis of sexual
orientation or gender identity: California, Colorado, Illinois, Iowa, Maine, Maryland, Minnesota, New Jersey,
North Carolina, Oregon, Vermont, and Washington.33 Four additional states offer protections on the basis of
sexual orientation only: Connecticut, Massachusetts, New York, and Wisconsin.34

Individual School or School District Non-Discrimination Policies

        For a list of colleges and universities that have enacted non-discrimination policies that include gender
identity/expression, refer to the following list created by the Transgender Law and Policy Institute: www.trans-
genderlaw.org/college/index.htm#policies
        For a list of K-12 school districts that have enacted non-discrimination policies that include gender
identity/expression, refer to the following list created by the Transgender Law and Policy Institute: www.trans-
genderlaw.org/college/index.htm#schools American bar Association
        The American Bar Association (ABA) opposes discrimination against those who are transgender or gen-
der non-conforming. The ABA is a national organization of lawyers, law students and judges, and is the largest
voluntary professional association in the world, with more than 400,000 members. The control and adminis-
tration of the ABA is vested in the House of Delegates, which is the policy-making body of the Association.
In 2006, the ABA House of Delegates adopted a recommendation that all federal, state, local, and territorial
governments enact legislation prohibiting discrimination on the basis of actual or perceived gender identity or
expression, in employment, housing, and public accommodations.35




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   ACKNOWLEDGEMENTS
The NCAA resource accepted input from the report, “On the Team: Equal Opportunity for Transgender Stu-
dent Athletes” published in October, 2010. In October 2009 the National Center for Lesbian Rights and It Takes
A Team!, an Initiative of the Women’s Sports Foundation, co-sponsored a national think tank entitled “Equal
Opportunities for Transgender Student-Athletes.” Think Tank participants included leaders from the NCAA,
the National High School Federation, transgender student-athletes, and experts on transgender issues from
a range of disciplines—law, medicine, advocacy, and athletics. The NCAA also would like to acknowledge and
thank George Washington University and Kyle Allums for their efforts in educating and raising awareness of
transgender student-athlete participation.
Participants of the 2009 Think Tank included:

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                                                            Executive Director
Morgan N. Dickens                                           National Center for Lesbian Rights
Student Athlete                                             San Francisco, California
Basketball, Rugby Cornell University 2008

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ACLU Lesbian, Gay, Bisexual, Transgender & AIDS Proj-
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National Center for Lesbian Rights
Washington, D.C.                                        Charlotte Westerhaus
                                                        Vice President for Diversity and Inclusion
Karen Morrison                                          NCAA
Director                                                Indianapolis, Indiana
Gender Initiatives, NCAA
Indianapolis, Indiana                                   Bruce Whitehead
                                                        Executive Director
Jill Pilgrim, Esq.                                      National Interscholastic Athletic
Former General Counsel & Drug Testing Program           Administrators Association
Administrator                                           Indianapolis, Indiana
Ladies Professional Golf Association
Daytona Beach, Florida                                  Mary Wilfert
                                                        Associate Director
                                                        Health and Safety, NCAA
                                                        Indianapolis, Indiana
                                                                        NCAA Inclusion of Transgender Student-Athletes — 31
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Available online at
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    Advocates for Informed Choice, General Brochure, available online at

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Available online at




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     U.S. Const. amend. XIV, § 1.
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14


15
     28 U.S.C.A. § 534.


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Stat. § 118.13.
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ON THE TEAM:
EQUAL OPPORTUNITY FOR
TRANSGENDER
STUDENT ATHLETES




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Helen J. Carroll
Sports Project Director
National Center for Lesbian Rights




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  About the AUTHORS� � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � 3

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  INTRODUCTION � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � � 6

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About the RE P O RT

The purpose of this report is to provide guidance to high school and collegiate athletic programs
about how to ensure transgender student athletes fair, respectful, and legal access to school sports
teams. In October 2009 the National Center for Lesbian Rights and It Takes A Team!, an Initiative of
the Women’s Sports Foundation, co-sponsored a national think tank entitled “Equal Opportunities
for Transgender student athletes.” Think Tank participants included leaders from the National
Collegiate Athletic Association and the National High School Federation, transgender student
athletes, and an impressive array of experts on transgender issues from a range of disciplines—law,
medicine, advocacy, and athletics. The think tank goals were to develop model policies and identify
best practices for high school and collegiate athletic programs to ensure the full inclusion of
transgender student athletes.

This think tank report includes best practice and policy recommendations for high school and
collegiate athletic programs about providing transgender student athletes with equal opportunities
to participate in school-based sports programs. In addition to specific policy recommendations
for both high school and college athletics, the report provides guidance for implementing these
policies to ensure the safety, privacy, and dignity of transgender student athletes as well as their
teammates. Specific best practice recommendations are provided for athletic administrators,
coaches, student athletes, parents, and the media.




                                  Lea Robinson
                                  Assistant Director of Multicultural Affairs,
                                  LGBTQ Outreach, Columbia University
                                  (former coach and athlete)



                                   “   During my coaching career, there was little discussion of
                                   the existence of transgender student athletes and few resources
                                   for those student athletes that did identify as transgender. In
                                   my own experience, the few students that I did suspect may
                                   have identified as transgender weren’t really able to come
                                   out in those settings because of a lack of support within
                                   their athletic communities as well as a real lack of resources,
                                   education, and safe spaces. I believe that the implementation of
                                   supportive policies would signify a commitment to the support
                                   and acceptance of transgender-identified student athletes
                                   and coaches, and aid in creating more spaces for dialogue and
                                   education within the culture of athletics regarding issues and
                                   challenges facing transgender student athletes. Those policies will
                                   also give transgender student athletes and coaches the guidance,
                                   support, encouragement, and sense of safety they need to pursue
                                   what can sometimes be a very difficult journey.
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A bout the AUTHO R S

                                          in Sports and co-editor of Teaching      coached swimming and diving at
                                          for Diversity and Social Justice:        the University of Massachusetts
                                          A Sourcebook for Teachers and            Amherst.
                                          Trainers. For the past 25 years, Dr.
                                          Griffin has led seminars on diversity    A Women’s Sports Foundation
                                          issues including lesbian, gay,           initiative, It Takes A Team! Education
                                          bisexual, and transgender issues         Campaign for Lesbian, Gay,
                                          in athletics at numerous colleges        Bisexual, and Transgender Issues
                                          and universities, as well as at          in Sport is an education project
                                          coaches and athletic administrators’     focused on eliminating homophobia
                                          association meetings throughout          as a barrier to all women and men
Dr. Pat Griffin                           the United States and Canada. Dr.        participating in sport. It Takes A
Dr. Pat Griffin is the former Director    Griffin has discussed homophobia         Team! provides practical educational
of It Takes A Team! Education             in sports on ESPN’s Outside the          information and resources to
Campaign for Lesbian, Gay, Bisexual       Lines, HBO’s Real Sports and ABC         athletic administrators, coaches,
and Transgender Issues in Sport,          Sports. In 2007 she was selected as      parents, and athletes at the high
an initiative of the Women’s Sports       one of the Top 100 Sport Educators       school and college levels to make
Foundation. Dr. Griffin is a Professor    by the International Sport Institute.    sport safe and welcoming for all.
Emerita in the Social Justice             She played basketball and field          These resources are available at
Education Program at the University       hockey and swam at the University        www.ittakesateam.org.
of Massachusetts Amherst. She is          of Maryland. She coached high
author of Strong Women, Deep              school basketball and field hockey
Closets: Lesbians and Homophobia          in Silver Spring, Maryland and




                                          Association (NCAA) and National          The National Center for Lesbian
                                          Association of Intercollegiate           Rights is a national legal
                                          Athletics (NAIA) Athletic Director       organization committed to
                                          at Mills College for twelve years,       advancing the civil and human
                                          and now devotes all her efforts to       rights of lesbian, gay, bisexual,
                                          helping the sports world recognize       and transgender people and
                                          that the inclusion of people who         their families through litigation,
                                          are lesbian, gay, bisexual, and/         public policy advocacy, and public
                                          or transgender diversifies and           education. The mission of the Sports
                                          strengthens the sport experience.        Project is to create and ensure a
                                          Carroll works closely with major         sports culture where individuals
Helen J. Carroll                          national sport organizations             may fully participate, free from
Helen J. Carroll is the Director of the   including the Women’s Sports             sexual orientation and gender
National Center for Lesbian Rights’       Foundation and the NCAA. She has         identity discrimination.
Sports Project, which aims to ensure      been a featured speaker on panels
that lesbian, gay, bisexual, and          with Nike, ESPN’s Outside the Lines,     Other NCLR staff who provided
transgender players, coaches, and         The New York Times, and many             assistance in the writing of this
administrators receive fair and equal     others. Her work appears in Dr. Dee      report include Shannon Minter, Legal
treatment—free of discrimination.         Mosbacher’s and Fawn Yacker’s            Director; Liz Seaton, former Director
She joined NCLR in 2001 after             award-winning film, Training Rules,      of Projects and Managing Attorney;
spending 30 years as an athlete,          Dr. Pat Griffin’s book, Strong           Ilona Turner, Staff Attorney; Cara
coach, and collegiate athletic            Women, Deep Closets and The              Sherman, Public Interest Associate;
director. Carroll is well-known in        Outsports Revolution by authors          and Jody Marksamer, Staff Attorney
the sports world as an acclaimed          Jim Buzinski and Cyd Ziegler Jr.         and Youth Project Director.
National Championship Basketball          Carroll was recently named to the
Coach from the University of              of list of Most Powerful Lesbians in
North Carolina-Asheville. She was         Sport by Curve Magazine.
a National Collegiate Athletic                                                                                                 3
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AC K NOWL E DGE ME N TS

A comprehensive report of this nature required input and feedback from a wide array of
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of Pediatrics, Member of the International Olympic Committee medical advisory board; R. Nick
Gorton, M.D., Emergency Medicine Physician, Sutter Davis Hospital, Primary Care Provider, Lyon-
Martin Women’s Health Services–San Francisco, Medical-Legal Consultant for transgender health
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Advocates and Defenders.

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Track and Field, Rugby, Bates College, 2006, Northeastern College, 2010; Morgan Dickens,
Basketball and Rugby, Cornell University, 2008, Ithaca College, 2009; a high school transgender
student athlete.




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INTRODUCTION




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I N T R OD UC T IO N

An increasing number of high school- and college-aged young people are identifying as transgender
(or trans), meaning that their internal sense of their gender identity is different from the gender
they were assigned at birth.1 These students challenge many parents and educators to rethink our
understanding of gender as universally fixed at birth. Educators and parents must be open to this
challenge if we are to create educational institutions that value and meet the needs of all students.
Once we recognize that transgender young people are part of school communities across the United
States, educational leaders have a responsibility to ensure that these students have access to equal
opportunities in all academic and extracurricular activities in a safe and respectful school environment.




                                             STEPHANIE BRILL
                                             Executive Director, Gender Spectrum


                                             “    There are more and more transgender children today
                                             who, even at young ages, are allowed to live their lives
                                             in alignment with who they are. As it becomes common
                                             medical procedure to allow these children to transition in
                                             childhood, athletic policies need to reflect this change in
                                             the landscape of student athletes.
                                                                                     ”
Some transgender students, like their non-transgender peers, enjoy athletic competition and want to
be part of a school sports team. Transgender young people have the same right to participate and
benefit from the positive aspects of athletics as other students do. School athletic leaders, in response
to this interest, must identify effective and fair policies to ensure that transgender students have an
equal opportunity to participate on school sports teams.

School athletic programs are widely accepted as integral parts of the high school and college
experience. The benefits of school athletic participation include many positive effects on physical,
social, and emotional well-being. Playing sports can provide student athletes with important lessons
about self-discipline, teamwork, success, and failure—as well as the joy and shared excitement that
being a member of a sports team can bring.

Additionally, participation in high school athletics shows that a student is well-rounded and can
improve a student’s chances of acceptance into college. For some students, playing on high school
teams leads to future careers in athletics as competitors, coaches, administrators, and athletic trainers.
All students, including those who are transgender, deserve access to these benefits.

Though the needs of transgender students in high school and college have received some attention
in recent years, this issue has not been adequately addressed in the context of athletics. Few high
school or collegiate athletic programs, administrators, or coaches are prepared to fairly, systematically,


1
    For a more complete list of definitions and terms related to transgender people, refer to Appendix A.
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and effectively address a transgender student’s interest in participating in athletics. The majority of
school athletic programs have no policy governing the inclusion of transgender student athletes, and
most coaches are unprepared to accommodate a transgender student who wants to play on a sports
team. In fact, most school athletic programs are unprepared to address even basic accommodations
such as knowing what pronouns or names to use when referring to a transgender student, where a
transgender student should change clothes for practice or competition, or what bathroom or shower
that student should use.

In response to this need, the National Center for Lesbian Rights Sports Project and the Women’s
Sports Foundation initiative It Takes A Team! convened a national think tank in October 2009 entitled
“Equal Opportunities for Transgender student athletes.” Think tank participants included leaders
from the National Collegiate Athletic Association (NCAA) and the National High School Federation,
transgender student athletes, and an impressive array of experts on transgender issues from a range
of disciplines—law, medicine, advocacy, and athletics.

Think tank participants were committed to a set of guiding principles based on the core values of
inclusion, fairness, and equal opportunity in sport. The think tank goals were to develop model policies
and identify best practices for high school and collegiate athletic programs to ensure the full inclusion
of transgender student athletes.

Think tank participants were also keenly aware of the advantages of adopting uniform national
policies for the participation of high school and college transgender athletes. By adopting a single
national policy for all high schools and a single national policy for intercollegiate athletics, educators
can ensure that student athletes and teams will not run into problems due to inconsistent rules for
state eligibility, conference and tournament eligibility, and national competitive tournaments. The
adoption of a single national standard for high schools and a single national standard for colleges
would also enable an easier transition for high school transgender student athletes moving to another
state, or for transgender student athletes in college to transfer to a program in another state.

This report reflects the best thinking of the think tank participants, based on current medical
knowledge and legal protections for transgender people, about how to ensure equal opportunities
for transgender student athletes. The purpose of this report is to provide leaders in education and
athletics with the information they need to make effective policy decisions about the participation of
transgender student athletes in high school and college athletic programs. This report is intended for
everyone involved with high school or collegiate athletics including college presidents, school board
members, high school state athletic association leaders, school principals and district superintendents,
intercollegiate athletic conference commissioners, and sport governing organization leaders. It is also
intended for individual athletic directors, coaches, student athletes, and parents.

Part One of the report provides an overview of issues related to providing equal opportunities for
transgender student athletes. Part Two describes model policies for the inclusion of high school and
college transgender student athletes. Part Three recommends best practices for the inclusion of
transgender student athletes. Part Four lists additional resources for addressing transgender issues in
athletics. Part Five includes an appendix of definitions of key terms, information about the legal rights
of transgender people in the United States, and a list of the think tank participants.


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PART ONE:
OVERVIEW




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PA RT O N E : OVE RVIE W

This section of the report provides an overview of issues related to providing equal opportunities
for transgender student athletes by addressing the following questions:



                   • What Does Transgender Mean?
                   • Why Must We Address Transgender Issues in Athletics? Why Focus on High
                      School and College Athletics?


                   • Should the Participation of Transgender Student Athletes Raise Concerns
                      About Competitive Equity?


                   • What Are the Benefits of Adopting Fair and Inclusive Policies?
                   • What Are Harmful Effects of Failing to Adopt Fair and Inclusive Policies?

W h at Does Transgender Mean?

“Transgender” describes an individual whose gender identity (one’s internal psychological
identification as a boy/man or girl/woman) does not match the person’s sex at birth. For example,
a male-to-female (MTF) transgender person is someone who was born with a male body, but who
identifies as a girl or a woman. A female-to-male (FTM) transgender person is someone who was
born with a female body, but who identifies as a boy or a man.2

Some transgender people choose to share the fact that they are transgender with others. Other
transgender people prefer to keep the fact that they transgender private.

It is important that other people recognize and respect the transgender person’s identification
as a man or a woman. In order to feel comfortable and to express their gender identity to other
people, transgender people may take a variety of steps: changing their names and self-referencing
pronouns to better match their gender identity; choosing clothes, hairstyles, or other aspects of
self-presentation that reflect their gender identity; and generally living, and presenting themselves
to others, consistently with their gender identity. Some, but not all, transgender people take
hormones or undergo surgical procedures to change their bodies to better reflect their gender
identity.

Some people are confused by the difference between transgender people and people who have
intersex conditions. The key feature of being transgender is having a psychological identification as
a man or a woman that differs from the person’s sex at birth. Apart from having a gender identity
that is different than their bodies, transgender people are not born with physical characteristics
that distinguish them from others. In contrast, people with intersex conditions (which may also
be called a “Differences of Sex Development”), are born with physically mixed or atypical bodies

2
 Gender Spectrum, “A Word About Words,” available online at http://www.genderspectrum.org/images/stories/
Resources/Family/A_Word_About_Words.pdf.
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   with respect to sexual characteristics such as chromosomes, internal reproductive organs and
   genitalia, and external genitalia.3 An estimated one in 2,000 people are born with an anatomy
   or chromosome pattern that doesn’t seem to fit typical definitions of male or female. The
   conditions that cause these variations are sometimes grouped under the terms “intersex” or “DSD”
   (Differences of Sex Development).4

   Most people with intersex conditions clearly identify as male or female and do not have any
   confusion or ambiguity about their gender identities. In fact, most intersex conditions are
   not visible, and many intersex people are unaware of having an intersex condition unless it is
   discovered during medical procedures. Though there may be some similar issues related to sports
   participation between transgender and intersex individuals, there are also significant differences.
   This report will focus on the participation of transgender people in sports.



   Why Must We Address Transgender Issues in School Athletic Programs?

   Educators must address transgender issues in athletics for several reasons. First and foremost, core
   values of equal opportunity and inclusion demand that educational leaders adopt thoughtful and
   effective policies that enable all students to participate fully in school athletic programs. Over the
   course of many years, schools have learned and continue to appreciate the value and necessity of
   accommodating the sport participation interests of students of color, girls and women, students with
   disabilities, and lesbian, gay, and bisexual students. These are all issues of basic fairness and equity
   that demand the expansion of our thinking about equal opportunity in sports. The right of transgender
   students to participate in sports calls for similar considerations of fairness and equal access.

   Additionally, as more states, localities, and schools add gender identity and expression to their non-



                                            PARENT OF HIGH SCHOOL STUDENT ATHLETE


           “   When my daughter transitioned at the age of 14, at the beginning of her
           eighth-grade year, we were told that a school administrator had contacted the
           state association for us. The answer I got then was that she could only compete
           in girls intramural sports. By the time she was ready to enter high school as a
           freshmen, she was no longer willing to settle. She wanted the right to compete
           at any level in the gender role she identified with.
                                                                    ”
   discrimination policies, and as more courts hold that sex discrimination laws protect transgender
   people, transgender students and their parents are increasingly empowered to insist that athletic
   programs accommodate transgender students (see Part Five: Appendix B for a compilation of


   3
    Intersex Society of North America, “What’s the difference between being transgender or transsexual and having
   an intersex condition?” Available online at http://www.isna.org/faq/transgender.
   4
     Advocates for Informed Choice, General Brochure, available online at http://aiclegal.files.wordpress.com/2010/02/
   aic-brochure.pdf.
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state and federal laws, regulations, and legal decisions prohibiting discrimination based on gender
identity/expression). To avoid decision-making that perpetuates discrimination, school leaders
must be proactive in adopting policies that are consistent with school non-discrimination policies
and state and federal laws prohibiting discrimination based on gender identity or expression (see
Appendix A for definitions of gender identity and gender expression).

Though the number of transgender students is small, research indicates that their number is
growing.5 As the number of people who come out as transgender as teenagers and children
increases, so too do the numbers of parents who support their transgender children and advocate
for their rights to safety and fair treatment in schools. In response to these demands, K-12 school
and college leaders must be prepared to accommodate the educational needs and protect the
rights of trans-identified students.

To respond to these realities, sport governing organizations and individual schools are well
advised to proactively adopt policies that provide equal opportunities for transgender students to
participate on school sports teams. Moreover, in the spirit of encouraging sports participation for
all, it is the right thing to do.

In order to design effective policies, educators must understand that gender is a core part of
everyone’s identity and that gender is more complex than our society generally acknowledges.
Learning about the experience of transgender people can help us to see more clearly how gender
affects all of our lives, and to put that knowledge into practice in order to better serve all students.




                                             STEPHANIE BRILL
                                             Executive Director, Gender Spectrum




                                             “   Parents call Gender Spectrum weekly to see if their
                                             children will be allowed to play sports in high school.
                                                                                                           ”

Addressing the needs of transgender students is an important emerging equal opportunity issue
that must be taken seriously by school leaders. Because a more complex understanding of gender
may be new and challenging for some people, there is a danger that misinformation and stereotypes
will guide policy decisions rather than accurate and up-to-date information. Athletic leaders who
are charged with policy development need guidance to avoid inscribing misconceptions and
misinformation in policies that, ultimately, create more problems than they solve.


5
  See, e.g., Emily A. Greytak, Joseph G. Kosciw, and Elizabeth M. Diaz, Gay Lesbian Straight Education Network,
Harsh Realities: The Experiences of Transgender Youth in Our Nation’s Schools (2009). Available online at http://
www.glsen.org/binary-data/GLSEN_ATTACHMENTS/file/000/001/1375-1.pdf. Despite this evidence of growing
numbers, the decision to provide equal opportunity should not be based on the number of transgender students
who want to play sports. Even the smallest minority of students deserves the opportunity to participate in all
                                                                                                                          11
school-sponsored programs.
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    W hy Foc u s on H ig h S c h o ol and Colle ge At hle t ics?

    Providing equal opportunities in all aspects of school programming is a core value in
    education. As an integral part of educational institutions, high school and college athletic
    programs are responsible and accountable for reflecting the goals and values of the
    educational institutions of which they are a part. It follows that school athletic programs
    must reflect the value of equal opportunity in all policies and practices.

    Athletic programs affiliated with educational institutions have a responsibility, beyond those
    of adult amateur or professional sports programs, to look beyond the value of competition to
    promote broader educational goals of participation, inclusion, and equal opportunity. Because
    high schools and colleges must be committed to those broader educational goals, they should not
    unthinkingly adopt policies developed for adult Olympic and professional athletes. Recognizing
    the need to address the participation of transgender athletes, a few leading international and
    professional sport governing organizations have developed policies based on overly stringent,
    invasive, and rigid medical requirements. These policies are not workable or advisable for high
    school and college athletes for a number of reasons.

    For example, in 2004 the International Olympic Committee (IOC) developed a policy addressing
    the eligibility of transgender athletes to compete in IOC sanctioned events.6 While the IOC
    deserves credit for its pioneering effort to address the inclusion of transgender athletes, medical
    experts have identified serious flaws in the IOC policy, especially its requirement of genital
    reconstructive surgery, which lacks a well-founded medical or policy basis. Most transgender
    people—even as adults—do not have genital reconstructive surgery.7 In addition, whether a
    transgender person has genital reconstructive surgery has no bearing on their athletic ability. The
    IOC policy also fails to provide sufficient protections for the privacy and dignity of transgender
    athletes. Because of these serious flaws, high schools and colleges should not adopt or look to the
    IOC policy as a model.8



                                            Eric Vilain
    M.D., PH.D., Professor, Director of the Center for
              Gender-Based Biology and Chief Medical
              Genetics Department of Pediatrics, UCLA


   “     Requiring sex reassignment surgery before allowing
   participation for the high school or collegiate student athlete is
   medically unnecessary and not linked to competitive equity. IOC
   regulations requiring surgery for Olympic transgender athletes have
   been controversial and it would be unreasonable to make this a
   requirement for high school and college students.
                                                              ”
    6
      International Olympic Committee, Statement of the Stockholm Consensus on Sex Reassignment in Sport (2003),
    http://www.olympic.org/Documents/Reports/EN/en_report_905.pdf.
    7
      Lisa Mottet, National Gay and Lesbian Task Force Policy Institute and National Center for Transgender Equality,
    “Preliminary Findings of the National Transgender Discrimination Survey” (2010).
                                                                                                                        12
    8
        Alice Dreger, “Sex Typing for Sport,” Hastings Center Report (March-April 2010).
                                                                                                        NCAA 000217
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There are additional reasons for high schools and colleges to create their own policies rather
than adopt policies developed for adults. High school- and college-aged student athletes have
developmental needs that differ from those of adults. For example, a core purpose of high school
and college is to teach students how to participate and be good citizens in an increasingly diverse
society and how to interact respectfully with others. In addition, high school and college athletic
programs impose limits on how many years a student athlete can compete that do not exist in
adult sporting competitions, where athletes can compete as long as their performances are viable
or, in the case of most amateur sports, as long as they wish to.

It is also advisable that high school athletic programs adopt a different policy for including
transgender student athletes than college athletic programs. Specifically, this report recommends
that high schools permit transgender athletes to play on teams consistent with the student’s
gender identity, without regard to whether the student has undertaken any medical treatment. In
contrast, the report recommends a more nuanced policy for collegiate athletics that is based, in
part, upon whether a student athlete is undergoing hormone therapy.

The need for distinct high school and collegiate policies is based on several considerations. First,
in high school settings, students are guaranteed the availability of a high school education and a
corresponding opportunity to participate equally in all high school programs and activities. At the
high school level, the focus should be on full participation in athletics for all students, within the
limits of school resources to provide participation opportunities.

Second, intercollegiate sports are governed differently than high school sports. Intercollegiate
athletics are regulated nationally by governing bodies that sponsor national competitions and
oversee such functions as the random testing of student athletes for the use of banned substances
thought to enhance athletic performance. Because testosterone is a banned substance under
the current rules for intercollegiate competition, the inclusion of transgender student athletes in
college sports must be consistent with those rules.

Third, high school student athletes are still growing and developing physically, cognitively, and
emotionally. Because high school-aged students are still growing and maturing, they present a
broader range of physical characteristics than collegiate student athletes do, and these differences
should be taken into account in developing a policy for high school students.

Finally, high school-aged and younger transgender students are subject to different medical
protocols than adults because of their age and physical and psychological development.9 The
World Professional Association for Transgender Health (WPATH) has established guiding medical
protocols for transitioning—the process by which a transgender person lives consistently with
their gender identity—which may include treatments to have the person’s physical presentation
more closely align with their identity. Those protocols vary based on the age and psychological
readiness of the young person.10 For children and youth, transition typically consists entirely of


9
 Stephanie Brill and Rachel Pepper, The Transgender Child: A Handbook for Families and Professionals (San
Francisco: Cleis Press, 2008).
10
  World Professional Association for Transgender Health, The Harry Benjamin International Gender Dysphoria
Association’s Standards Of Care For Gender Identity Disorders, Sixth Version (2001). Available online at http://www.
wpath.org/documents2/socv6.pdf.
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permitting the child to dress, live, and function socially consistently with the child’s gender identity.
For youth who are approaching puberty, hormone blockers may be prescribed to delay puberty in
order to prevent the youth from going through the traumatic experience of acquiring secondary
sex characteristics that conflict with his or her core gender identity. For older youth, cross-gender
hormones or even some sex-reassignment surgeries may be prescribed.




                                         JAMISON GREEN
                                         Center of Excellence for Transgender
                                         Health, UCSF, WPATH Board of Directors


                                        “    The World Professional Association for Transgender
                                        Health Board of Directors has stated that policies
                                        requiring surgery as a condition of identity recognition
                                        are not advisable as a matter of ethical healthcare. High
                                        schools and colleges should not require surgery for a
                                        student to compete in their affirmed gender.
                                                                                        ”
All of these factors point to the need to develop policies for the inclusion of transgender student
athletes in high school and college programs that take the relevant differences between the
two settings into account. In the high school and college policies recommended below, we have
attempted to take account of these differences.



S h o uld th e Pa rt i ci pat i on of Transg e n d er St u d en t At h le tes o n Sc h o o l
Te a m s Ra ise Concerns About Comp e t it ive E q u it y?

Concern about creating an “unfair competitive advantage” on sex-separated teams is one of the
most often cited reasons for resistance to the participation of transgender student athletes. This
concern is cited most often in discussions about transgender women or girls competing on a
women’s or girls’ team. Some advocates for gender equality in high school and college sports are
concerned that allowing transgender girls or women—that is, male-to-female transgender athletes
who were born male, but who identify as female—to compete on women’s teams will take away
opportunities for other girls and women, or that transgender girls or women will have a competitive
advantage over other non-transgender competitors.

These concerns are based on three assumptions: one, that transgender girls and women are not
“real” girls or women and therefore not deserving of an equal competitive opportunity; two, that
being born with a male body automatically gives a transgender girl or woman an unfair advantage
when competing against non-transgender girls and women; and three, that boys or men might be
tempted to pretend to be transgender in order to compete in competition with girls or women.

These assumptions are not well founded. First, the decision to transition from one gender to the
other—to align one’s external gender presentation with one’s internal sense of gender identity—is
                                                                                                              14
                                                                                                        NCAA 000219
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   a deeply significant and difficult choice that is made only after careful consideration and for
   the most compelling of reasons. Gender identity is a core aspect of a person’s identity, and it is
   just as deep seated, authentic, and real for a transgender person as for others. Male-to-female
   transgender women fully identify and live their lives as women, and female-to-male transgender
   men fully identify and live their lives as men. For many transgender people, gender transition is a
   psychological and social necessity. It is essential that educators in and out of athletics understand
   this.

   Second, while some people fear that transgender women will have an unfair advantage over non-
   transgender women, it is important to place that fear in context. When examined carefully, the
   realities underlying this issue are more complex than they may seem at first blush. The basis of
   this concern is that transgender girls or women who have gone through male puberty may have
   an unfair advantage due to the growth in long bones, muscle mass, and strength that is triggered
   by testosterone. However, a growing number of transgender youth are undergoing medically
   guided hormonal treatment prior to puberty, thus effectively neutralizing this concern. Increasingly,
   doctors who specialize in treating transgender people are prescribing hormone blockers to protect
   children who clearly identify as the other gender from the trauma of undergoing puberty in the
   wrong gender and acquiring unwanted secondary sex characteristics. When the youth is old
   enough to make an informed decision, he or she can make the choice of whether to begin cross-
   gender hormones. Transgender girls who transition in this way do not go through a male puberty,
   and therefore their participation in athletics as girls does not raise the same equity concerns that
   might otherwise be present.




                          Dr. Walter Bockting, Ph.D.
           President of WPATH, AssocIATE ProfESSOR,
            University of Minnesota Medical School




      “    Differences within the sexes are considerable and often
      times larger than differences between the sexes.
                                                         ”

   In addition, even transgender girls who do not access hormone blockers or cross-gender hormones
   display a great deal of physical variation, just as there is a great deal of natural variation in physical
   size and ability among non-transgender girls and boys. Many people may have a stereotype that
   all transgender girls and women are unusually tall and have large bones and muscles. But that is
   not true. A male-to-female transgender girl may be small and slight, even if she is not on hormone
   blockers or taking estrogen. It is important not to over generalize. The assumption that all male-
   bodied people are taller, stronger, and more highly skilled in a sport than all female-bodied people




                                                                                                                15
                                                                                              NCAA 000220
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is not accurate.11 This assumption is especially inaccurate when applied to youth who are still
developing physically and who therefore display a significantly broader range of variation in size,
strength, and skill than older youth and adults.12




                                              Dr. Nick Gorton
                                              American Board of Emergency Medicine,
                                              Medical Legal Consultant, Trans Health Care


                                                “   Transgender student athletes fall within the
                                                spectrum of physical traits found in athletes of their
                                                transitioned gender, allowing them to compete fairly
                                                and equitably.
                                                                 ”
It is also important to know that any athletic advantages a transgender girl or woman arguably
may have as a result of her prior testosterone levels dissipate after about one year of estrogen
therapy. According to medical experts on this issue, the assumption that a transgender girl or
woman competing on a women’s team would have a competitive advantage outside the range
of performance and competitive advantage or disadvantage that already exists among female
athletes is not supported by evidence.13 As one survey of the existing research concludes, “the data
available does not appear to suggest that transitioned athletes would compete at an advantage or
disadvantage as compared with physically born men and women.”14

Finally, fears that boys or men will pretend to be female to compete on a girls’ or women’s team are
unwarranted given that in the entire 40 year history of “sex verification” procedures in international



11
  In addition, what counts as a competitive advantage may shift dramatically depending on the sport. What is an
advantage in one context may be a disadvantage in another. For example, factors such as height, weight, reaction
time, and proportion of fast twitch muscle fibers all affect competitive advantage depending on the sport. A female
volleyball player may be very tall, and yet few people would consider that to be an unfair competitive advantage
in her sport. Similarly, a male swimmer may have a naturally high hemoglobin count enabling him to take in more
oxygen, but he is not barred from swimming for that reason. Sarah Teetzel, “On Transgendered Athletes, Fairness
and Doping: An International Challenge,” Sport in Society: Cultures, Commerce, Media, Politics, 1743-0445, Volume
9, Issue 2 (2006) Pages 227 – 251.
12
  Assuming that boys have an automatic advantage over girls is particularly false with respect to prepubescent
children, where gender plays virtually no role in determining relative athletic ability. For that reason, we strongly
recommend that school and recreational sports adopt the policy recommended by the Transgender Law and Policy
Institute and endorsed by Gender Spectrum. Transgender Law and Policy Institute, Guidelines for Creating Policies
for Transgender Children in Recreational Sports (2009).
13
   Brenda Wagman, Promising Practices: Working with Transitioning/Transitioned Athletes in Sport Project,
AthletesCAN, Canadian Association for the Advancement of Women in Sport, and the Canadian Centre for Ethics
in Sport, Including Transitioning and Transitioned Athletes in Sport: Issues, Facts and Perspectives (2009). Available
online at http://www.caaws.ca/e/resources/pdfs/Wagman_discussion_paper_THE_FINAL.pdf.
14
  Michaela C. Devries, “Do Transitioned Athletes Compete at an Advantage or Disadvantage as compared with
Physically Born Men and Women: A review of the Scientific Literature” (May 18, 2008). Including Transitioning
and Transitioned Athletes, supra note 13. Available online at http://www.caaws.ca/e/resources/pdfs/Wagman_
discussion_paper_THE_FINAL.pdf.
                                                                                                                          16
                                                                                                                    NCAA 000221
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   sport competitions, no instances of such “fraud” have been revealed.15 Instead, rather than
   identifying men who are trying to fraudulently compete as women, “sex verification” tests have
   been misused to humiliate and unfairly exclude women with intersex conditions.16 The apparent
   failure of such tests to serve their stated purpose of deterring fraud—and the terrible damage they
   have caused to individual women athletes—should be taken into account when developing policies
   for the inclusion of transgender athletes.

   Rather than repeating the mistakes of the past, educators in high school and collegiate athletics
   programs must develop thoughtful and informed policies that provide opportunities for all
   students, including transgender students, to participate in sports. These policies must be based
   on sound medical science, which shows that male-to-female transgender athletes do not have
   any automatic advantage over other women and girls. These policies must also be based on the
   educational values of sport and the reasons why sport is included as a vital component of the
   educational environment: promoting the physical and psychological well-being of all students, and
   teaching students the values of equality, participation, inclusion, teamwork, discipline, and respect
   for diversity.



   What Are the Benefits of Ad o p t i n g I n c l u s i ve Po l i c i e s a n d P ra c t ice s
   Rega rdi ng Transgender St u d e n t At h le tes?

   All stakeholders in high school and collegiate athletics will benefit from adopting fair and inclusive
   policies enabling transgender student athletes to participate on school sports teams. School-based
   sports, even at the most competitive levels, remain an integral part of the process of education
   and development of young people, especially emerging leaders in our society. Adopting fair and
   inclusive participation policies will allow school and athletic leaders to fulfill their commitment to
   create an environment in which all students can thrive, develop their full potential, and learn how to
   interact with persons from diverse groups.




                                          DONNA Rose
                        Transgender Activist, Wrestler




          “    To deny us the opportunity to participate and to
          compete and to potentially excel is to take away part
          of ourselves that we cherish.
                                           ”

   15
     Erin Buzuvis, “Caster Semenya and the Myth of the Level Playing Field.” Social Science Research Network (2009).
   Available online at http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1521674.
   16
     Joe Leigh Simpson et al, “Gender Verification in the Olympics,” JAMA (2000); 284: 1568-1569; see also Sex
   Typing for Sport, supra note 8.
                                                                                                                       17
                                                                                                    NCAA 000222
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Many schools and athletic departments identify diversity as a strength and have included
sexual orientation and gender identity/expression in their non-discrimination policies. Athletic
departments and personnel are responsible for creating and maintaining an inclusive and non-
discriminatory climate in the areas they oversee. Adopting inclusive participation policies provides
school athletic leaders with a concrete opportunity to fulfill that mandate and demonstrate their
commitment to fair play and inclusion.

Moreover, when all participants in athletics are committed to fair play, inclusion, and respect,
student athletes are free to focus on performing their best in athletic competition and in the
classroom. This climate promotes the well-being and achievement potential of all student athletes.
Every student athlete and coach will benefit from meeting the challenge of overcoming fear and
prejudice about social groups of which they are not members. This respect for difference will be
invaluable to all student athletes as they graduate and enter an increasingly diverse workforce in
which knowing how to work effectively across differences is a professional and personal asset.



W h at A re Ha r mful Potent i al Conse q u e n ces o f Fa ilu re to Ad o p t
Tra nsgen der -I ncl usi ve Pol i ci es an d Pra c t ices?

When schools fail to adopt inclusive participation policies, they are not living up to the educational
ideals of equality and inclusion, and may reinforce the image of athletics as a privileged activity
not accountable to broad institutional and societal ideals of inclusion and respect for difference.
Moreover, this failure puts schools, athletic conferences, and sport governing organizations at risk
of costly discrimination lawsuits and negative media attention.




                                            Keelin Godsey
                                            Transgender Student athlete,
                                            Bates college, 2006


                                             “   I have found it is nearly impossible to be both trans
                                             and an athlete. Being an athlete and being trans are both
                                             a part of my identity. I wish I didn’t feel like I have to
                                             choose one or the other.
                                                                         ”
Failing to adopt transgender-inclusive participation policies is hurtful to and discriminates against
transgender students because they may be denied the opportunity to participate in school sports.
School sports programs are integral parts of a well-rounded education experience. The benefits of
school sports participation include many positive effects on physical, social, and emotional well-
being. All students, including those who are transgender, deserve access to these benefits.17



17
  Kirk Mango, ”The Benefits of Competitive Athletic Sports Participation in Today’s Sports Climate,” Chicago Now
(February 16, 2010). Available online at http://www.chicagonow.com/blogs/athletes-sports-experience/2010/02/
the-benefits-of-competitive-athletic-sports-participation-in-todays-sports-climate.html.
                                                                                                                         18
                                                                                                                   NCAA 000223
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   Failure to adopt inclusive participation policies also hurt non-transgender students by conveying a
   message that the values of non-discrimination and inclusion are less important than values based
   on competition and winning. Schools must model and educate about non-discrimination values in
   all aspects of school programming, not only for students, but for parents and community members
   as well.

   Last but not least, failure to adopt policies that ensure equal opportunities for transgender student
   athletes may also result in costly and divisive litigation. As described in Appendix B, a growing
   number of states and localities are adopting specific legal protections for transgender students.
   In addition, state and federal courts are increasingly applying sex discrimination laws to prohibit
   discrimination against transgender people.




                                         Jill Pilgrim
             Former General Counsel & Drug Testing
          Program Administrator Ladies Professional
                                   Golf Association



        “    High Schools and colleges need to adopt transgender
        student athlete accommodation policies to remedy the silent
        suffering of young people who have the right to participate
        and enjoy the same activities that all other students have
        access to, without being discriminated against.
                                                          ”
   Several studies show that schools are often hostile places for transgender students and other
   students who do not conform to stereotypical gender expectations.18 These students are frequently
   subjected to peer harassment and bullying which stigmatizes and isolates them. This mistreatment
   can lead to feelings of hopelessness, depression, and low self-esteem. When a school or athletic
   organization denies transgender students the ability to participate in sports because of their
   gender identity or expression, that condones, reinforces and affirms their social status as outsiders
   or misfits who deserve the hostility they experience from peers.

   Finally, the absence of transgender-inclusive policies and practices reinforces stereotypes and
   fears about gender diversity. When transgender students are stigmatized and excluded, even non-
   transgender students may experience pressure to conform to gender-role stereotypes as a way to
   avoid being bullied or harassed themselves.




   18
        Harsh Realities, supra note 3.
                                                                                                              19
                                                                                           NCAA 000224
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PART TWO:
Policy Recommendations for Including
Transgender Student Athletes




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PART T WO: Po licy R ecommendations for I ncluding  		
                            T ran sge n der  St udent Athl etes


This section of the report includes:



                      • Guiding Principles
                      • General Recommendations
                      • Recommended Policy for High School Athletics
                      • Recommended Policy for College Athletics
                      • Additional Guidelines for Transgender Student Athlete Inclusion


G u i d ing Pr in cip le s


We recommend that policies governing the participation of transgender student athletes be
informed by the following principles, which provided a philosophical foundation for the think tank
participants.


Think Tank participants were committed to these guiding principles based on the belief that
athletic participation is an integral part of the educational experience. This report recommends
that, in addition to an organization’s stated values, the following principles be included in the
transgender student athlete policy statement:

    1.    Participation in interscholastic and intercollegiate athletics is a valuable part of the
          education experience for all students.

    2.    Transgender student athletes should have equal opportunity to participate in sports.

    3.    The integrity of women’s sports should be preserved.

    4.    Policies governing sports should be based on sound medical knowledge and scientific
          validity.

    5.    Policies governing sports should be objective, workable, and practicable; they should also
          be written, available and equitably enforced.

    6.    Policies governing the participation of transgender students in sports should be fair in light
          of the tremendous variation among individuals in strength, size, musculature, and ability.

    7.    The legitimate privacy interests of all student athletes should be protected.
                                                                                                             21
                                                                                                       NCAA 000226
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    8.   The medical privacy of transgender students should be preserved.

    9.   Athletic administrators, staff, parents of athletes, and student athletes should have access
         to sound and effective educational resources and training related to the participation of
         transgender and gender-variant students in athletics.

    10. Policies governing the participation of transgender students in athletics should comply
         with state and federal laws protecting students from discrimination based on sex,
         disability, and gender identity and expression.


G e n e ra l Reco m m e n d ati o n s

    1.   Schools should adopt transgender student athlete inclusive policies proactively, rather
         than waiting for a transgender student to express an interest in sports participation.
         Proactive adoption of such a policy enables school and athletic administrators to educate
         staff, students and parents about the policy and increases the likelihood that inclusion of
         transgender students on school teams will occur in a timely, fair and effective manner. The
         adoption of comprehensive, consistent policies, and the institution of training concerning
         participation of transgender student athletes before the instance of a transgender
         student asking to participate also prevent situations in which a student may be subject to
         harassment or other unwanted or undue attention.

    2.   Policies governing the participation of transgender student athletes should be adopted by
         national and state athletic associations and implemented within individual school districts
         at the individual school level. The advantage of adopting a single national policy for all
         high schools and a single national policy for intercollegiate athletics is that it provides
         consistency for state eligibility rules, conference and tournament eligibility, and national
         competitive tournaments. This consistency reduces the likelihood of student athletes being
         held to different eligibility requirements in different states.

    3.   The adoption of a single national standard for high schools and a single national standard
         for colleges would also enable an easier transition for high school transgender student
         athletes moving to another state, or for transgender student athletes in college to transfer
         to a program in another state. Policy consistency eliminates confusion and ensures that
         transgender student athletes will be afforded an opportunity to compete in every state
         at both the high school and collegiate levels. Add or amend school non-discrimination
         policies to include “gender identity and expression.”

    4.   Policies should focus on maximizing inclusiveness, rather than restricting students’
         opportunities to participate based on their gender identity or expression.

    5.   Policies should reflect the educational values of the organization adopting them and
         include procedures for implementation, protection of student confidentiality, and appeal.

    6.   Policies should enable all student athletes, regardless of their gender identity or
         expression, to compete in a safe, competitive, and respectful environment free of
                                                                                                             22
         discrimination.
                                                                                                   NCAA 000227
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 7.   Policies should use clear and consistent language that reflects understanding of the
      concepts of transgender, gender identity, and gender expression.

 8.   Policies should be in written form and included in all school organizational rulebooks,
      eligibility guidelines, and student athlete handbooks and should be made readily available
      to all stakeholders including administrators, coaches, students, and parents.

 9.   Educational resources should be made available to all national, state and local athletic
      associations and conferences, school athletic staff, parents, and student athletes, including:

            • Information about gender identity and expression

            • State and federal non-discrimination and anti-harassment laws pertaining to
               transgender students

            • Best practices for including transgender student athletes on teams, and

            • Information about the transgender student athlete participation policy in the
               student athlete handbook.




      A HIGH SCHOOL Student athlete
      A PERSONAL STORY



 “    I am blessed to have a mom who has always accepted me, even though I know that it was
 hard for her at first. Knowing that my mom was always there to fight for my rights, and that she
 is not ashamed of me helped me to have the confidence to participate in sports.

 I’ve been on the cross country        people who have loved and
                                                                                          ”
                                                                           was accepted and safe when
 and track teams since before I        supported me, and fought for        I started to use the girls’
 started to transition. At first, I    my right to be myself no matter     restroom and locker room.
 had to be on the boys’ team. I        what.                               And I have teammates that
 always felt terrible, out of place,                                       are genuinely accepting, and
 and like I was living a lie.          My mom was always with me,          defend me if others on the
                                       and she talked to the coaches       team are teasing me, or saying
 When I first started to               about what I needed so I could      things about me behind my
 transition, I was able to be on       participate fully on the team.      back.
 the girls’ team. I was so excited     My coaches are great. They do
 to be with the girls, but I was       not treat me like I am different.   Overall, I believe that taking
 not allowed to “officially”           To them, I am just another girl     the time to educate my
 compete and that was hard.            on the team.                        teammates, being honest,
                                                                           and holding my head high has
 I’ll be a senior this fall. Looking   Before I had surgery, I was able    helped me to be a successful
 back at these last three years        to talk to my female coach          student athlete. I know that
 competing on the girls’ cross         about how uncomfortable I           there are still people who don’t
 country and track team, I             would be wearing the speed          accept or understand what it
 feel really good about my             suits that are required when        means to be transgender, but
 experience as a transgender           running, and she was able           I don’t let them get in my life,
 student athlete in my high            to figure out a solution that       or in the way of my success on
 school. I know I couldn’t have        did not single me out. My           the track or off.
 done it without the help of           coaches also made sure that I

                                                                                                                     23
                                                                                                          NCAA 000228
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Policy Recommendations for High School and Collegiate Athletics

The following policy recommendations are for high school and collegiate athletic programs and
should not be assumed appropriate for younger age groups. We recommend that policies for
younger athletes should be adopted specifically for that age group and should follow the general
guidelines developed by the Transgender Law and Policy Institute and endorsed by Gender
Spectrum which states that prepubescent young people should be able to commit in recreational
and school sports according to their gender identity.19

We urge readers to keep in mind that policy development governing the inclusion of transgender
student athletes is an emerging endeavor. As new research on the participation of transgender
athletes and the physiological effects of gender transition on athletic performance becomes
available, policies may need to be reevaluated to ensure that they reflect the most current
research-based information.

Recommended Pol i cy for Hi gh Sc h o o l At h le t ics

A transgender student athlete at the high school level shall be allowed to participate in a sports
activity in accordance with his or her gender identity irrespective of the gender listed on the
student’s birth certificate or other student records, and regardless of whether the student has
undergone any medical treatment. This policy shall not prevent a transgender student athlete from
electing to participate in a sports activity according to his or her assigned birth gender.

Recommended Implementation Procedures

      1. Notice to the School: The student and/or parents shall contact the school administrator or
         athletic director indicating that the student has a consistent gender identity different than
         the gender listed on the student’s school registration records or state birth record, and that
         the student desires to participate in activities in a manner consistent with his/her gender
         identity.

      2. Notice to the State Interscholastic Athletic Association (SIAA): The athletic director shall
         notify the SIAA of the student’s interest in participating.

      3. Once the athletic director grants the student eligibility to participate in the sport consistent
         with his/her gender identity, the eligibility is granted for the duration of the student’s
         participation and does not need to be renewed every sports season or school year. All
         discussion and documentation will be kept confidential, and the proceedings will be sealed
         unless the student and family make these records available.

      4. All communications among involved parties and required supporting documentation shall
         be kept confidential and all records of proceedings sealed unless the student and family

19
   Transgender Law and Policy Institute, Guidelines for Creating Policies for Transgender Children
in Recreational Sports (2009). Online at http://www.transgenderlaw.org/resources/TLPI_
GuidlinesforCreatingPoliciesforTransChildreninRecSports.pdf; Gender Spectrum, “School Policies and the Law:
School Sports,” available online at http://www.genderspectrum.org/index.php?option=com_content&view=article&i
d=24&Itemid=38.
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   make a specific request otherwise. All medical information provided pursuant to this policy
   shall be kept strictly confidential as is consistent with medical privacy law.

5. Should any questions arise about whether a student’s request to participate in a sports
   activity consistent with his or her gender identity is bona fide, a student may seek review of
   his or her eligibility for participation through the procedure set forth below:

       A. First Level of Appeal: The student will be scheduled for an appeal hearing before
           an SIAA eligibility committee specifically established to hear gender identity
           appeals. The SIAA shall schedule a hearing as expeditiously as possible, but in
           no case later than five (5) school business days of the student’s school prior to
           the first full interscholastic contest that is the subject of the petition, or within a
           reasonable time thereafter in cases of emergency, including, but not limited to, any
           unforeseeable late student enrollment. The Gender Identity Eligibility Committee
           will be comprised of a minimum of three of the following persons, at least one of
           whom must be from the physician or mental health professional categories:

              • Physician with experience in transgender health care and the World
                 Professional Association for Transgender Health (WPATH) Standards of Care

              • Psychiatrist, psychologist, or licensed mental health professional familiar with
                 the WPATH Standards of Care

              • School administrator from a non-appealing school

              • SIAA staff member

              • Advocate familiar with issues of gender identity and expression

       B. Documentation: The appealing student should provide the Eligibility Committee
           with the following documentation and information:

              • Current transcript and school registration information

              • Documentation of the student’s consistent gender identification (e.g., written
                 statements from the student and/or parent/guardian and/or health care
                 provider)

              • Any other pertinent documentation or information

       C. Committee Decision Process: The student’s appeal should be granted upon the
           committee’s receipt of the documentation noted above.

       D. Second Level of Appeal: If the Gender Identity Eligibility Committee denies the
           student’s request to participate, the student can file a notice of appeal with the
           Executive Director of the SIAA on or before the tenth (10th) school business
           day following the date of receipt of the written decision of the Gender Identity
           Eligibility Committee denying the petition. An appeal to the SIAA Executive
                                                                                                              25
                                                                                                     NCAA 000230
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                 Director shall require the Executive Director to schedule a hearing to commence
                 on or before the tenth (10th) school business day following the date of receipt of
                 the written notice of appeal. Written notice of the time and place of the hearing
                 shall be delivered to the appealing student in person or by certified mail, with
                 return receipt requested, no later than five (5) school business days of the student’s
                 school prior to the date of the hearing.

             E. When there is confirmation of a student’s consistent gender identity, the Eligibility
                 Committee/SIAA Executive Director will affirm the student’s eligibility to participate
                 in SIAA activities consistent with the student’s gender identification.




                                          MIKE COLBRESE
                                          Executive Director, Washington
                                          Interscholastic Activities Association


                                          “    The WIAA’s gender identity/expression policy,
                                          which was adopted two years ago, has been successful
                                          in its implementation in the eyes of student athletes,
                                          teammates, coaches, athletic directors, parents, and the
                                          state association.
                                                               ”
Our think tank report recommendation for interscholastic athletics is based on the Washington
Interscholastic Activities Association (WIAA) Gender Identity/Expression policy adopted in
2008. The WIAA adopted this non-discrimination policy permitting transgender student athletes
to participate according to their gender identity. This policy and specific procedural steps that
students and schools are required to follow are described in the WIAA Official Handbook. WIAA
officials report that this policy is working as planned in providing equal opportunity for currently
participating transgender student athletes. The WIAA policy is, as of 2010, the best working policy
governing the participation of transgender student athletes in high school sports and is consistent
with contemporary medical knowledge and practice and with the principles of inclusion and non-
discrimination, as well as with laws prohibiting discrimination against transgender persons. (See
Part Five: Appendix B)

As a final note, it is important to recognize that some high school transgender athletes will have
undergone hormonal treatments or even surgeries, and others will not. This recommended policy—
which requires inclusion regardless of whether a transgender student has undergone any medical
treatment—recognizes that regulating access to high school sports based on medical treatment
would be unfair and too complicated for this level of competition. However, high schools should
ensure that transgender student athletes are aware of any policies that may affect their ability
to compete at the collegiate level so that they can make informed choices about how medical
transition may affect their eligibility to participate in collegiate athletics.
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    Keelin Godsey
    former student athlete, Bates College, 2006,
    Northeastern College, 2010


                                                                and a national contender each          My team was awesome. The


                                 Photo courtesy of Jeff Sheng
                                                                year, caused me to hold off on         only thing that was said was,
                                                                coming out as transgender for          “Please forgive us if we slip on
                                                                almost three years. I was so           the pronouns while we adjust.”
                                                                afraid of losing everything I had      And, to tell the truth, I don’t
                                                                worked so hard to accomplish           think I ever once heard them
                                                                in track and field and that I          slip up on pronouns.
                                                                would no longer be able to
                                                                compete in something that              Everyone’s biggest concern
                                                                defined me as much as being            was how my transition was
                                                                transgender does.                      going to be received outside
                                                                                                       of Bates, as, at that time, the
                                                                But by the end of my junior            NCAA didn’t have any rules or
                                                                year I couldn’t hide who I was         guidelines about transgender
                                                                anymore. I felt I had no choice        athletes. Since I was already
 I was 18 when I started to figure                              but to face the consequences           a national champion in the
 out I was transgender, but the                                 head on and come out as FTM.           Women’s Hammer Throw,
 thought of telling anyone was                                  I was afraid if I didn’t, I wouldn’t   as well as holding the DIII
 absolutely frightening. I didn’t                               make it through my senior year.        national record as an 11-time
 have the support system I                                      I started by coming out to a           all-American, we knew my
 needed and I didn’t know how                                   professor/mentor. This wasn’t          coming out was very much
 it would impact my track and                                   too hard, but I knew that I had        going to be a public event.
 field career.                                                  to come out to the athletic            Unfortunately, things went
                                                                director, and that getting his/        less smoothly off-campus
 I started researching rules and
                                                                her support was imperative             than on. I was extremely lucky
 regulations for transgender
                                                                in order for my “transition” of        though to have the support
 athletes, and while I was
                                                                names and pronouns to work             of my teammates and my
 able to find a policy from
                                                                and my continued participation         coach, who helped me succeed
 the International Olympic
                                                                on the women’s track and field         despite all of the outside
 Committee, I couldn’t find
                                                                team to go smoothly.                   stresses I experienced as an
 anything that would apply to
                                                                                                       FTM competing at the national
 me at the collegiate level. I later                            At the time, my track team had         level on a women’s team. My
 found out it was because they                                  a new head coach, and I was            teammates were the first to
 didn’t have any policies.                                      really nervous about how she           defend me when people were
                                                                was going to respond. But after        being hateful, when the media
 I also tried to find information
                                                                having a long talk with her it         was stalking me or when I
 about transgender athletes,
                                                                was clear that she understood          was repetitively accused of
 which, at the time, was like
                                                                and that she was there to help.        cheating despite all of my
 trying to find a needle in
                                                                Together, we were able to think        clean drug (testosterone) tests.
 a haystack. I became very
                                                                through how my coming out              I had chosen to forego any
 fearful that you couldn’t be
                                                                might effect the team, and             medical transitioning to remain
 transgender and a champion
                                                                come up with the best plan for         on my women’s team. My team
 collegiate athlete at the
                                                                telling my teammates. When I           was also there to share in the
 same time. This fear, the lack
                                                                came out to the team, I wasn’t         positive things that happened
 of policies and information
                                                                met with the fear and hate             as a result of my coming out.
 about successful transgender
                                                                that I was expecting. In fact,
 athletes, and the fact that I was
                                                                it was the complete opposite.
 the track team’s biggest scorer


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Recommended Pol i cy for Col l e g e At h let ics

A transgender student athlete at the college level should be allowed to participate in any sports
activity so long as that athlete’s use of hormone therapy, if any, is consistent with the National
Governing Body’s (NGB) existing policies on banned medications. Specifically, a transgender
student athlete should be allowed to participate in sex-separated sports activities under the
following conditions:

      I. Participation in Sex-Separated Sport Teams

              A. Transgender student athletes who are undergoing hormone treatment

                     1. A male-to-female (MTF) transgender student athlete who is taking medically
                        prescribed hormone treatment related to gender transition may participate
                        on a men’s team at any time, but must complete one year of hormone
                        treatment related to gender transition before competing on a women’s
                        team.20

                     2. A female-to-male (FTM) transgender student athlete who is taking medically
                        prescribed testosterone related to gender transition may not participate
                        on a women’s team after beginning hormone treatment, and must request
                        a medical exception from the National Governing Body (NGB) prior to
                        competing on a men’s team because testosterone is a banned substance.

                     3. A female-to-male (FTM) transgender student athlete who is taking medically
                        prescribed testosterone for the purposes of gender transition may compete
                        on a men’s team.

                     4. In any case where a student athlete is taking hormone treatment related to
                        gender transition, that treatment must be monitored by a physician, and the
                        NGB must receive regular reports about the athlete’s eligibility according to
                        these guidelines.

              B. Transgender student athletes who are NOT undergoing hormone treatment

                     1. Any transgender student athlete who is not taking hormone treatment related
                        to gender transition may participate in sex-separated sports activities in
                        accordance with his or her assigned birth gender.

                     2. A female-to-male transgender student athlete who is not taking testosterone
                        related to gender transition may participate on a men’s or women’s team.

                     3. A male-to-female transgender student athlete who is not taking hormone
                        treatments related to gender transition may not compete on a women’s team.


20
   Recent research indicates that most salient physical changes likely to affect athletic performance occur during
the first year of hormone treatment making a longer waiting period unnecessary. Goorin, Louis, and Mathijs Bunck,
“Transsexuals and Competitive Sports,” European Journal of Endocrinology 151 (2004): 425-429. Available online at
http://www.eje.org/cgi/reprint/151/4/425.pdf                                                                             28
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                                         Eric Vilain
 M.D., PH.D., Professor, Director of the Center for
Gender-Based Biology and Chief Medical Genetics
                     Department of Pediatrics, UCLA


   “   Research suggests that androgen deprivation and cross
   sex hormone treatment in male-to-female transsexuals
   reduces muscle mass; accordingly, one year of hormone
   therapy is an appropriate transitional time before a male-to-
   female student athlete competes on a women’s team.
                                                         ”
        II. Participation in Mixed Gender Sport Activities

        A mixed team has both female and male participants and may be restricted in championship
        play according to specific national governing body rules.

               A. Transgender student athletes who are undergoing hormone treatment

                      1. For purposes of mixed gender team classification, a male-to-female (MTF)
                         transgender student athlete who is taking medically prescribed hormone
                         treatment related to gender transition shall be counted as a male participant
                         until the athlete has completed one year of hormone treatment at which time
                         the athlete shall be counted as a female participant.

                      2. For purposes of mixed gender team classification, a female-to-male (FTM)
                         transgender student athlete who is taking medically prescribed testosterone
                         related to gender transition shall be counted as a male participant and must
                         request a medical exception from the National Governing Body (NGB) prior
                         to competing because testosterone is a banned substance.

               B. Transgender student athletes who are NOT undergoing hormone treatment

                      1. For purposes of mixed gender team classification, a female-to-male (FTM)
                         transgender student athlete who is not taking testosterone related to gender
                         transition may be counted as either a male or female.

                      2. For purposes of mixed gender team classification, a female-to-male (FTM)
                         transgender student athlete who is not taking testosterone related to gender
                         transition participating on a women’s team shall not make that team a mixed
                         gender team.

                      3. For purposes of mixed gender team classification, a male-to-female (MTF)
                         transgender student athlete who is not taking hormone treatment related to
                         gender transition shall count as a male.

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III. Recommended Implementation Process

      A. The student’s responsibility

            1. In order to avoid challenges to a transgender student’s participation during a
               sport season, a student athlete who has completed, plans to initiate, or is in
               the process of taking hormones as part of a gender transition shall submit the
               request to participate on a sports team in writing to the athletic director upon
               matriculation or when the decision to undergo hormonal treatment is made.

            2. The student shall submit her or his request to the athletic director. The
               request shall include a letter from the student’s physician documenting the
               student athlete’s intention to transition or the student’s transition status if
               the process has already been initiated. This letter shall identify the prescribed
               hormonal treatment for the student’s gender transition and documentation of
               the student’s testosterone levels, if relevant.

      B. Individual School and National Governing Body Responsibilities

            1. The athletic director shall meet with the student to review eligibility
               requirements and procedure for approval of transgender participation.

            2. The athletic director shall notify the NGB of the student’s request to
               participate. The NGB will assign a facilitator to assist the athletic director in
               responding to the request.

            3. If a student athlete’s request is denied by the athletic director, the decision
               must be automatically reviewed by a Transgender Participation Committee to
               be established by a school administrator. This committee shall be convened
               and its decision reported to the athletic director and school administrator in a
               timely fashion. This committee should include:

                 • A health care professional, e.g. physician, psychiatrist, psychologist or
                    other licensed health professional with experience in transgender health
                    care and the World Professional Association for Transgender Health
                    (WPATH) Standards of Care. The student athlete’s physician can serve in
                    this role.

                 • A faculty athletic representative; and

                 • A representative assigned by the institution’s president with expertise
                    in institutional anti-discrimination policy, such as someone from the
                    institution’s human resources, ombuds office, or Americans with
                    Disabilities compliance office.

            4. The athletic director will notify the NGB of the appeal outcome.

            5. The NGB will confirm that the treatment requirement has been met.
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                   6. Transgender student athletes subject to a one-year transition period should
                      receive an extension of their eligibility at the end of their transition period,
                      upon timely review and approval by the NGB.

                   7. An opposing team or school may only challenge a transgender student
                      athlete’s approved eligibility through the accepted formal appeal process of
                      the NGB.

                   8. All discussions among involved parties and required written supporting
                      documentation should be kept confidential, unless the student athlete
                      makes a specific request otherwise. All information about an individual
                      student’s transgender identity and medical information, including
                      physician’s information provided pursuant to this policy, shall be maintained
                      confidentially.*

[*The NGB should provide a model confidentiality policy for member institutions, including
information about medical waivers.]


Additional Guidelines for Transgender Student Athlete Inclusion

In addition to overall eligibility policy, we recommend that the following additional guidelines be
adopted by individual schools at both the high school and college level. These guidelines will assist
schools, athletic departments, coaches, teams, and student athletes in creating an environment in
which all student athletes are safe and fairly treated.


Fa cilities Access

    1. Changing Areas, Toilets, Showers—Transgender student athletes should be able to use the
        locker room, shower, and toilet facilities in accordance with the student’s gender identity.
        Every locker room should have some private, enclosed changing areas, showers, and toilets
        for use by any athlete who desires them. When requested by a transgender student athlete,
        schools should provide private, separate changing, showering, and toilet facilities for the
        student’s use, but transgender students should not be required to use separate facilities.

    2. Competition at Another School—If a transgender student athlete requires a particular
        accommodation to ensure access to appropriate changing, showering, or bathroom
        facilities, school leaders, athletic directors, and coaches, in consultation with the
        transgender student athlete, should notify their counterparts at other schools prior to
        competitions to ensure that the student has access to facilities that are comfortable and
        safe. This notification should maintain the student’s confidentiality. Under no circumstances
        should a student athlete’s identity as a transgender person be disclosed without the
        student’s express permission.

    3. Hotel Rooms—Transgender student athletes generally should be assigned to share hotel
        rooms based on their gender identity, with a recognition that any student who needs extra
        privacy should be accommodated whenever possible.
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L anguage

   1. Preferred Names—In all cases, teammates, coaches and all others in the school should refer
      to transgender student athletes by a student’s preferred name.

   2. Pronouns—Similarly, in all cases, pronoun references to transgender student athletes should
      reflect the student’s gender and pronoun preferences.

Dress Codes and Team  U ni form s

   1. Dress Codes—Transgender athletes should be permitted to dress consistently with their
      gender identities. That is, a female-to-male transgender athlete should be permitted to
      dress as a male. A male-to-female should be permitted to dress as a female.

      For reasons unrelated to trans-inclusion, schools should evaluate the necessity of gendered
      dress codes and recognize that they tend to marginalize a range of students who may
      not feel comfortable with them. Dress codes for athletic teams when traveling or during a
      game day at school should be gender-neutral. Instead of requiring a girls’ or women’s team
      to wear dresses or skirts, for example, ask that team members wear dresses or slacks that
      are clean, neat, well cared for and appropriately “dressy” for representing their school and
      team.

   2. Uniforms—All team members should have access to uniforms that are appropriate for their
      sport and that they feel comfortable wearing. No student should be required to wear a
      gendered uniform that conflicts with the student’s gender identity.

Education

   1. In School—All members of the school community should receive information and education
      about transgender identities, school or district non-discrimination policies, the use of
      preferred names and pronouns, and expectations for creating a respectful team and school
      climate for all students, including transgender and gender-variant students.

   2. Athletic Conference Personnel—Athletic conference leaders should be educated about the
      need for policies governing the participation of transgender student athletes, develop such
      policies, and ensure that all schools in the conference understand and adopt the policies.

   3. Opposing Teams/Schools—Without violating a transgender student’s confidentiality or
      privacy, school leaders, athletic directors, and coaches should communicate with their
      counterparts at other schools prior to competitions in which a transgender athlete is
      participating about expectations for treatment of transgender student athletes on and off
      the field. This does not require “outing” or otherwise identifying a particular student athlete
      as transgender, but rather establishing general expectations for the treatment of all student
      athletes, including those who may be transgender.




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Media

   1. Training—All school or athletic representatives (conference and/or state leaders, sports
      information departments and personnel, school leaders, athletic administrators, team
      members, and coaches) who are authorized to speak with the media should receive
      information about appropriate terminology, use of preferred names and pronouns, and
      school and athletic conference policies regarding the participation of transgender student
      athletes on school sports teams.

   2. Confidentiality—Protecting the privacy of transgender student athletes must be a top
      priority for all athletic department and affiliated school personnel, particularly when in the
      presence of the media. All medical information shall be kept confidential in accordance
      with applicable state, local, and federal privacy laws.

Enforcement and N on-Ret al i at io n

   1. Enforcement—Any member of an athletics department who has been found to have
      violated this policy by threatening to withhold athletic opportunity or harassing any student
      on the basis of their gender identity or expression, or by breaching medical confidentiality
      will be subject to disciplinary action, up to and including discharge or expulsion from the
      school. The athletic department will also take appropriate remedial action to correct the
      situation. Any member of the athletic department who becomes aware of conduct that
      violates this policy should report the conduct to the appropriate official such as the athletic
      director.

   2. Retaliation—Retaliation is specifically forbidden against anyone who complains about
      discrimination based on gender identity or expression, even if the person was in error. This
      athletic department will take steps to prevent any retaliation against any person who makes
      such a complaint.




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PART THREE:
Best Practices Recommendations for
Implementing Transgender Student
Athlete Inclusion Policies




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PA RT T H R E E : B est  P ractices Recommendations for 	
                     I mp leme n ti ng T ransgender St uden t                                    	
		      Athl ete In clusion Policies

Part Three describes best practices—the actions that coaches, administrators, student athletes, and
parents of transgender student athletes can take to assure the inclusion of transgender student
athletes. Although these practices specifically address transgender student athletes, they can be
used to address discrimination based on other factors as well, such as race, religion, class, and
sexual orientation.

The first part of this section describes general best practices for everyone. The next sections
identify best practices we recommend specifically to athletic administrators, coaches, student
athletes, and parents of student athletes, as well as athletic staff who interact with the media.


Overa ll Best Pract i ces

     1. Provide Equal Opportunity—Colleges and universities often have legal obligations to
        provide equal opportunity to student athletes and to personnel, including coaches. All
        those involved in athletics should be aware of these obligations, and treat them as core
        values guiding policies and practices. Transgender discrimination may be a part of a
        systemic problem where the broader environment is unfriendly or discriminatory toward
        lesbian, gay, bisexual, and transgender people. This will negatively affect all boys, girls, men,
        and women who participate in athletic competition. If discrimination is accepted as part of
        the common practices of an athletic department, this will undermine the core principle of
        equal opportunity.

     2. Value Diversity—In creating guidelines or best practices for including transgender
        student athletes, it is important to place this conversation in the context of the athletic
        department’s broad commitments to safety, fairness, and respect for all participants. It
        helps when athletic department leadership, including coaches, value all aspects of diversity.
        Collegiate athletics provide an opportunity for students to compete with and against
        others who come from different races, cultures, religions, sexual orientations, gender
        identities and expressions, and social classes, but all of whom share the common goal
        of achieving athletic excellence. Valuing this common ground enhances the social and
        competitive experience for all. Athletic administrators should make their commitment to
        valuing diversity explicit in media interviews and other public speaking opportunities as
        well as in meetings with athletic department staff. That diversity-valuing approach then
        shapes and informs activities throughout the athletic department and is conveyed to
        coaches and student athletes. Everyone should also understand how these core values are
        important to team success and to individual team member development. Teams that value
        each member’s contribution to the unit, while respecting individual differences, provide a
        foundation for the whole team and each member of the team to focus on achieving their
        athletic and academic goals.

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    3. When diversity values are explicit, athletic departments, institutions, state, and national
        governing organizations are in a position to develop specific policy statements that
        reflect a commitment to these values. These policy statements, if followed, protect
        schools, administrators, student athletes, and coaches from litigation and other negative
        consequences. Coaches should know that they may have a transgender student athlete
        on their teams and should be equipped to make that experience a positive one for the
        athlete and their teammates. Parents should communicate the importance of these values
        in meetings with prospective coaches and athletic administrators. Student athletes can
        discuss these values with new team members and in public speaking opportunities.




                                        Laurie Priest
                                        Chair of Physical Education and Director
                                        of Athletics, Mt. Holyoke college


                                        “   It is imperative that administrators and coaches
                                        provide a safe and inclusive environment so that all
                                        student athletes can participate and achieve success.
                                        Being aware of appropriate laws can help us to develop
                                        policies and implement practices to assure that all of our
                                        students are treated with respect.
                                                                             ”
B e st P ra ctices for At hl et i c Adm i nist rato rs

Best practices for athletic administrators focus on policy development, discrimination prevention,
education, enforcement procedures, and consequences. These best practices will be helpful to
a wide range of athletic administrators in organizations including colleges and universities, high
schools, sport-governing organizations, coaches associations, and sports conferences.

    1. If the school does not have an inclusive non-discrimination and harassment policy, work
        with other school administrators to adopt a policy that includes gender identity and
        expression.

    2. Respect the right to privacy of all student athletes with respect to personal information
        (including whether a student is transgender) when discussing gender identity and
        expression and understand that all medical information must be kept confidential in
        accordance with applicable state, local, and federal privacy laws.

    3. Become knowledgeable about school non-discrimination and harassment policies that
        include gender identity and expression.

    4. Include gender identity and expression in departmental non-discrimination statements on
        all official department documents and web sites.

    5. Become aware of state and federal non-discrimination laws that prohibit discrimination
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       based on gender identity and expression (see Part 5 Appendix B for a list of relevant
       federal and state laws).

    6. Adopt an effective and fair athletic departmental policy addressing the participation of
       transgender student athletes that is consistent with school policy and state or federal non-
       discrimination laws.

    7. Educate all members of the athletic department community (including staff, student
       athletes, and parents) about departmental and school policy regarding the participation of
       transgender student athletes in athletics.

    8. Educate yourself about transgender identity, preferred terminology, and current scientific
       perspectives on the participation of transgender student athletes on men’s and women’s
       sports teams.

    9. Work with athletic conferences of which your school is a member to adopt fair and
       effective policies governing the participation of transgender student athletes.

    10. Recommend that your athletic conference sponsor educational programs for coaches and
       student athletes on the inclusion of transgender student athletes, preferred terminology,
       and understanding transgender identity.

    11. Recommend that professional associations for athletic administrators sponsor educational
       programs on the inclusion of transgender student athletes, preferred terminology,
       understanding transgender identity, and adopting fair and effective policies.

    12. Educate all members of the sports information department about transgender identity,
       preferred terminology, department policies governing the participation of transgender
       student athletes, and confidentiality requirements when discussing transgender student
       athlete participation with the media.


Best Pra cti ces for Coaches

Best practices for coaches focus on acquiring knowledge about transgender student athletes,
understanding legal and ethical obligations, maintaining professional conduct, and ensuring that
those with whom coaches work are also educated and aware of these issues.

    1. Become knowledgeable about school non-discrimination and harassment policies that
       include gender identity and expression

    2. Become knowledgeable about departmental and school policy regarding the participation
       of transgender student athletes in athletics.

    3. If your department does not have a policy addressing the participation of transgender
       student athletes, ask your athletic director to adopt one.

    4. Educate student athletes on your team about transgender identity, preferred terminology,

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          and departmental/school policies regarding the participation of transgender student
          athletes on sports teams.

       5. Be prepared to talk with parents of student athletes about transgender student athletes’
          participation on school teams.

       6. Use respectful and preferred language and terminology when discussing transgender
          student athlete participation or interacting with a transgender student athlete.

       7. Anticipate and address transgender student athlete access issues proactively and in
          accordance with departmental policy regarding locker room use, toilet and shower
          availability, hotel room assignment, uniforms and dress codes.

       8. Recommend that coaches associations to which you belong adopt fair and effective policy
          statements addressing the participation of transgender student athletes.

       9. Recommend that coaches associations to which you belong sponsor educational programs
          addressing the participation of transgender student athletes.

       10. If you are aware of discriminatory or harassing behavior from opposing teams or spectators
          based on the perceived or actual gender identity or expression of a student athlete, talk
          to the opposing coach and ask your athletic director to talk with the opposing school’s
          athletic director.

       11. Respect the right to privacy of all student athletes with respect to personal information
          (including whether a student is transgender) when discussing gender identity and
          expression and understand that all medical information must be kept confidential in
          accordance with applicable state, local, and federal privacy laws.




                          Jennifer ‘Jay’ Hartshorn
              Track and Field Coach, Bates College



       “   I think it’s important for us to be aware there are
       transgender student athletes who want to compete, and
       with a little preparation, including transgender athletes
       isn’t a big deal.
                           ”



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Best Pra cti ces for St udent At hle tes

Best practices for student athletes who have transgender teammates focus on respectful behavior,
safety, and valuing diversity.

     1. Use respectful and preferred language and terminology when discussing transgender
        student athlete participation or interacting with a transgender student athlete.

     2. Become familiar with departmental and school policy governing the participation of
        transgender student athletes in athletics.

     3. Learn about school non-discrimination and harassment policies that include gender identity
        and expression.

     4. Encourage other student athletes to use respectful language when discussing transgender
        issues in sports or interacting with a transgender student athlete.

     5. Respect the right to privacy of all student athletes with respect to personal information
        (including whether a student is transgender) when discussing gender identity and
        expression.

     6. Ask your coach and athletic director for team and departmental educational training
        concerning transgender student athlete participation.

     7. If taunting or harassment from spectators or opponents occurs during competition, take
        the approach that these actions are never acceptable for any reason including taunting
        or harassment based on gender identity or expression. Make your coaches aware of
        discriminatory or harassing behavior and ask them to arrange a meeting with the opposing
        school’s athletic director to address this behavior.

     8. Ask the student athlete advisory council at your school to plan an activity that focuses
        on the participation of transgender athletes in sports and frame the issue as one of equal
        opportunity in sports and fair treatment for all.


Best Pra cti ces for Parent s of St u d e n t At h le tes

Best practices for parents of student athletes highlight the importance of the role of parents in
monitoring athletic department policy and practice to encourage adherence to core principles of
fairness for all student athletes.

     1. If you are the parent of a transgender student, ask school officials and athletic
        administrators for their policy on the participation of transgender students in athletic
        programs.

     2. Encourage athletic administrators to educate coaches, other athletic staff, student athletes,
        and parents of student athletes about policies and preferred terminology relating to the
        participation of transgender student athletes on school teams.

     3. Talk with your child about the importance of respecting the rights of transgender
        teammates and understanding transgender identity.                                                     39
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    4. If your child is transgender, talk with them about actions to take if she or he is feeling
       unsafe or is treated disrespectfully.

    5. Respect the right to privacy of all student athletes when discussing gender identity and
       expression and understand that all medical information must be kept confidential in
       accordance with applicable state, local, and federal privacy laws.

    6. If you become aware of discriminatory or harassing behavior by spectators or participants
       based on perceived or actual gender identity or expression during competitions, report this
       behavior to your school’s athletic director.




              ParenT OF HIGH SCHOOL ATHLETE



              “     Like any parent, I want to make sure my daughter is treated fairly and with
              respect when playing sports. I spend a lot of time watching her sporting events.
              Any time I have seen her being discriminated against, harassed, or degraded, I set
              up meetings with her teachers or the principal so they could address the problem
              and figure out how to prevent future issues. In addition, I’ve talked to my daughter
              on ways she can respond if her team members treat her with disrespect, make fun
              of her, or shun her. I also kept on top of the law in this area, so that we know her
              rights as a student and athlete and can educate others on their responsibilities.
                                                                                                    ”
B e st P ra ctices for At hl et i c St aff In tera c t in g Wit h M ed ia A b o u t
Tra nsgender St udent At hl ete Issue s

Best practices for interacting with the media focus on the importance of understanding basic
information about transgender identity, preferred terminology, and respecting confidentiality of
student athletes.

    1. The school or athletic department should provide training to all athletic staff who may
       interact with the media.

    2. Respect the confidentiality of all student athletes when discussing transgender issues
       with the media and understand that all medical information must be kept confidential in
       accordance with applicable state, local, and federal privacy laws.

    3. Use appropriate language in media interviews or presentations and insist that this
       terminology be used in media reports on transgender issues in athletics.

    4. Focus on the importance of providing equal opportunities for all students to participate in
       athletics.

    5. Describe how departmental policies provide equal opportunities for all students to
       participate in athletics.
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PART FOUR:
Additional Resources on Transgender Issues




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PART FOUR: ADDITIONAL RESOURCES ON TRANSGENDER ISSUES

Print Resources (Book s, Art i cl e s , Rep o rt s)

   AthletesCAN, the Canadian Centre for Ethics in Sport, and the Canadian Association for the
      Advancement of Women and Sport and Physical Activity, Promising Practices: Working
      With Transitioned/Transitioning Athletes in Sport (2009).


      Including Transitioning and Transitioned Athletes in Sport - Issues, Facts and Perspectives
      - SUMMARY. Brenda Wagman (February 12, 2009). Available online at http://www.caaws.ca/e/
      resources/pdfs/Summary_Transition_Discussion_Paper_FINAL1%20(2).pdf.


      Including Transitioning and Transitioned Athletes in Sport - Issues, Facts and Perspectives
      - DISCUSSION PAPER. Brenda Wagman (February 12, 2009). Available online at http://www.
      caaws.ca/e/resources/pdfs/Wagman_discussion_paper_THE_FINAL.pdf.


      Working with Transitioning or Transitioned Athletes in Sport - EMERGING THEMES.
      Rachel Corbett (May 26, 2009). Available online at http://www.caaws.ca/e/resources/pdfs/
      Wamsley_lit_review(2).pdf.


      Social Science Literature on Sport and Transitioning/Transitioned Athletes - LITERATURE
      REVIEW. Kevin B. Wamsley (February 2008). Available online at http://www.caaws.ca/e/
      resources/pdfs/Wamsley_lit_review(2).pdf.


      Do Transitioned Athletes Compete at an Advantage or Disadvantage - LITERATURE
      REVIEW. Michaela C. Devries (May 18, 2008). Available online at http://http:.caaws.ca/e/
      resources/pdfs/Devries_lit_review(2).pdf.


   Brill, Stephanie, and Rachel Pepper, The Transgender Child: A Handbook for Families and
      Professionals (San Francisco: Cleis Press, 2008).

   California Safe Schools Coalition, Model School District Policy Regarding Transgender and
      Gender Nonconforming Students (2009). Available online at http://www.casafeschools.org/
      csscmodelpolicy1209.pdf.


   Currah, Paisley, Richard M. Juang and Shannon Price Minter, Transgender Rights (Minneapolis,
      MN: University of Minnesota Press, 2006).

   Gay Straight Alliance Network, the Transgender Law Center and the National Center for
      Lesbian Rights, Beyond The Binary: A Tool Kit for Gender Activism in Schools (2004).
      Available online at http://transgenderlawcenter.org/pdf/beyond_the_binary.pdf.

   Goorin, Louis, and Mathijs Bunck, “Transsexuals and Competitive Sports,” European Journal of
      Endocrinology 151 (2004): 425-429. Available online at http://www.eje.org/cgi/reprint/151/4/425.
      pdf.
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  Griffin, Pat, “Inclusion of Transgender Athletes on Sports Teams,” Women’s Sports Foundation
      (2007). Available online at http://www.womenssportsfoundation.org/Content/Articles/Issues/
      Homophobia/I/Inclusion-of-Transgender-Athletes-on-Sports-Teams.aspx.


  Greytak, Emily A., Joseph G. Kosciw, and Elizabeth M. Diaz, Gay Lesbian Straight Education
      Network, Harsh Realities: The Experiences of Transgender Youth in Our Nation’s Schools
      (2009).

  Lambda Legal, Bending the Mold: An Action Kit for Transgender Students (2009). Available
      online at http://www.lambdalegal.org/publications/bending-the-mold/order-bending-the-mold.html.

  Movement Advancement Project, Advancing Transgender Equality: A Guide for LGBT
      Organizations and Funders (2009). Available online at http://www.lgbtmap.org/advancing-
      transgender-equality.html.


  National Center for Transgender Equality, Understanding Transgender: Frequently Asked
      Questions About Transgender People (2009). Available online at http://transequality.org/
      Resources/NCTE_UnderstandingTrans.pdf.


  Steinbach, Paul, “Change Candidates,” Athletic Business (August 2008). Available online at
      http://www.athleticbusiness.com/articles/article.aspx?articleid=1817&zoneid=3.


  Sykes, Heather, “Transsexual and Transgender Policies in Sport.” Women in Sport and Physical
      Activity Journal 15:1 (2006): 3-13.

  Transgender Law and Policy Institute, Guidelines for Creating Policies for Transgender Children
      in Recreational Sports (2009). Available online at http://www.transgenderlaw.org/resources/TLPI_
      GuidlinesforCreatingPoliciesforTransChildreninRecSports.pdf.


  Washington Interscholastic Activities Association Gender Identity Policy
      Jim Meyerhoff, Assistant Executive Director
      435 Main Avenue South, Renton, WA 98057
      Office Phone: 425-282-5234
      Office E-mail: jmeyerho@wiaa.com

  Women’s Sports Foundation, Participation of Transgender Athletes in Women’s Sports:
      A Women’s Sports Foundation Position Paper (2008). Available online at http://www.
      womenssportsfoundation.org/Content/Articles/Issues/Homophobia/T/Participation-of-Transgender-

      Athletes.aspx.


Organizations/Websites

   American Bar Association (ABA)—The ABA opposes discrimination against those who are
   transgender or gender non-conforming. In 2006, the ABA House of Delegates adopted a
   recommendation that all federal, state, local and territorial governments enact legislation
   prohibiting discrimination on the basis of actual or perceived gender identity or expression, in
   employment, housing and public accommodations. For more information visit www.abanet.org/
   leadership/2006/annual/dailyjournal/hundredtwentytwob.doc.                                                 43
                                                                                                   NCAA 000248
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Advocates for Informed Choice—legal advocacy organization dedicated to promoting the
civil rights of children with intersex conditions or disorders of sex development. www.aiclegal.org

American Civil Liberties Union (ACLU)—The ACLU Lesbian, Gay, Bisexual, Transgender Project
fights discrimination and moves public opinion through the courts, legislatures and public
education across five issue areas: Relationships, Youth & Schools, Parenting, Gender Identity
and Expression and Discrimination in Employment, Housing and other areas.
www.aclu.org/lgbt-rights


American Medical Association (AMA)—The AMA is a medical professional association whose
mission is to promote the art and science of medicine and the betterment of public health.
The AMA has adopted a number of policies supporting the right of transgender and gender-
non-conforming persons to be free from discrimination on the basis of their gender identity or
expression. www.ama-assn.org

American Psychological Association (APA)—In 2008, the APA Council of Representatives
adopted a policy statement supporting “the passage of laws and policies protecting the rights,
legal benefits, and privileges of people of all gender identities and expressions;” and as well
as supporting “efforts to provide safe and secure educational environments, at all levels of
education.” www.apa.org/about/governance/council/policy/transgender.aspx

Gay and Lesbian Advocates and Defenders Transgender Rights Project—Through the
Transgender Rights Project (TRP), Gay and Lesbian Advocates and Defenders puts litigation,
legislative, and educational assets to work in a focused way to establish clear legal protections
for the transgender community. www.glad.org

Gay, Lesbian and Straight Education Network—The Gay, Lesbian and Straight Education
Network strives to assure that each member of every school community is valued and
respected regardless of sexual orientation or gender identity/expression. www.glsen.org

Gender Spectrum—Gender Spectrum provides education, training and support to help create
a gender sensitive and inclusive environment for all children and teens. www.genderspectrum.org

It Takes A Team! Education Campaign for LGBT Issues in Sport—A Women’s Sports
Foundation initiative, It Takes A Team! Education Campaign for Lesbian, Gay, Bisexual, and
Transgender Issues in Sport is an education project focused on eliminating homophobia as a
barrier to all women and men participating in sport. www.ittakesateam.org

Lambda Legal—Lambda Legal is a national organization committed to achieving full
recognition of the civil rights of lesbians, gay men, bisexuals, transgender people and those
with HIV through impact litigation, education and public policy work. www.lambdalegal.org

National Center for Lesbian Rights—NCLR is a national legal organization committed to
advancing the civil and human rights of lesbian, gay, bisexual, and transgender people and
their families through litigation, public policy advocacy, and public education. www.nclrights.org


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   National Center for Transgender Equality—The National Center for Transgender Equality is a
   social justice organization dedicated to advancing the equality of transgender people through
   advocacy, collaboration and empowerment. www.transequality.org

   National Gay and Lesbian Task Force—The mission of the National Gay and Lesbian Task
   Force is to build the grassroots power of the LGBT community by training activists, equipping
   state and local organizations with the skills needed to organize broad-based campaigns to
   defeat anti-LGBT referenda and advance pro-LGBT legislation, and building the organizational
   capacity of the movement. www.thetaskforce.org

   Parents and Friends of Lesbians and Gays-TNET—The purpose of this special affiliate of
   PFLAG is to promote the health and well-being of transgender persons, their families and
   friends through: support, to cope with an adverse society; education, to enlighten an ill-
   informed public; and advocacy, to end discrimination and to secure equal civil rights. PFLAG
   TNET focuses on support for transgender people and their parents, families, and friends;
   education on transgender facts and issues; and advocacy for equal rights for the transgender
   community at local and national levels. www.pflag.org/tnet

   Transgender Law Center—Transgender Law Center (TLC) connects transgender people and
   their families to culturally competent legal services, increases acceptance and enforcement
   of laws and policies that support California’s transgender communities, and works to change
   laws and systems that fail to incorporate the needs and experiences of transgender people.
   www.transgenderlawcenter.org


   Transgender Law and Policy Institute—Transgender Law and Policy Institute (TLPI) is a non-
   profit organization dedicated to engaging in effective advocacy for transgender people in our
   society. The TLPI brings experts and advocates together to work on law and policy initiatives
   designed to advance transgender equality. www.transgenderlaw.org

   World Professional Association for Transgender Health (WPATH)—WPATH is an international,
   interdisciplinary organization of professionals from fields of psychiatry, endocrinology, surgery,
   law, psychology, sociology, and counseling. WPATH publishes the internationally recognized
   Standards of Care for Gender Identity Disorders, an evolving consensus on best practice in the
   provision of medical treatments for individuals with Gender Identity Disorder. www.wpath.org



Videos

   Straightlaced: How Gender’s Got Us All Tied Up
   Straightlaced: How Gender’s Got Us All Tied Up takes a powerful and intimate look at how
   popular pressures around gender and sexuality are shaping the lives of American teens.
   The film proudly showcases the diverse and unscripted voices of more than 50 high school
   students from a variety of different communities, all of whom speak with breathtaking
   honesty, insight, and humor about gender roles and their struggles to be who they really
   are. More information on the film is available at www.groundspark.org/our-films-and-campaigns/
   straightlaced
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                             PART FIVE: APPENDI CES


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APPENDICES




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Def initions and Term i nol ogy: A Wo rd A b o u t Wo rd s 21

Language has immense power to shape our perceptions of other people. Using accurate language
can help to overcome many of the misperceptions associated with gender and transgender people.
Although the vocabulary related to transgender people continues to evolve, here are some working
definitions and examples of frequently used (and misused) terms.

      Biological/Anatomical Sex—The physical characteristics typically used to assign a person’s
      gender at birth, such as chromosomes, hormones, internal and external genitalia and
      reproductive organs. Given the potential variation in all of these, biological sex must be seen
      as a spectrum or range of possibilities rather than a binary set of two options.

      Gender Identity—One’s inner concept of self as male or female or both or neither. One’s
      gender identity can be the same or different than the gender assigned at birth. Most people
      become conscious of their gender identity between the ages 18 months and 3 years. Most
      people have a gender identity that matches their assigned gender at birth. For some, however,
      their gender identity is different from their assigned gender. Some of these individuals
      choose to live socially as the other gender and may also hormonally and/or surgically change
      their bodies to more fully express their gender identity. All people have gender identity, not
      just transgender people.

      Gender Expression—Refers to the ways in which people externally communicate their gender
      identity to others through behavior, clothing, haircut, voice, and other forms of presentation.
      Gender expression also works the other way as people assign gender to others based on their
      appearance, mannerisms, and other gendered characteristics. Many transgender people seek
      to make their external appearance—their gender expression—congruent with their internal
      gender identity through clothing, pronouns, names, and, in some cases, hormones and surgical
      procedures. All people have gender expression, not just transgender people.

      Transgender—Sometimes used as an ‘umbrella term’ to describe anyone whose identity
      or behavior falls outside of stereotypical gender norms. More narrowly defined, it refers
      to an individual whose gender identity does not match their assigned birth gender. Being
      transgender does not imply any specific sexual orientation (attraction to people of a specific
      gender.) Therefore, transgender people may additionally identify as straight, gay, lesbian, or
      bisexual.

      Sexual Orientation—Term that refers to being romantically or sexually attracted to people of
      a specific gender. Our sexual orientation and our gender identity are separate, distinct parts
      of our overall identity. Although a child may not yet be aware of their sexual orientation, they
      usually have a strong sense of their gender identity.



21
  These terms and definitions were adapted from Gender Spectrum’s “A Word About Words.” Available online at
http://www.genderspectrum.org/images/stories/Resources/Family/A_Word_About_Words.pdf.
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       Genderqueer—This term represents a blurring of the lines around gender identity and sexual
       orientation. Genderqueer individuals typically reject notions of static categories of gender and
       embrace a fluidity of gender identity and sexual orientation. This term is typically assigned an
       adult identifier and not used in reference to preadolescent children.

       Gender Nonconforming/Gender Variant—Refers to individuals whose behaviors and/or
       interests fall outside what is considered typical for their assigned gender at birth. Someone
       who identifies as “gender nonconforming” is not necessarily transgender. To the contrary,
       many people who are not transgender do not conform to gender stereotypes in their
       appearance, clothing, physical characteristics, interests, or activities. No one should be treated
       differently or made to feel uncomfortable or unaccepted because they are gender non-
       conforming.

       Gender Fluidity—Gender fluidity conveys a wider, more flexible range of gender expression,
       with interests and behaviors that may even change from day to day. Gender fluid individuals
       do not feel confined by restrictive boundaries of stereotypical expectations of girls or boys.




                                 Morgan DIckens
      former basketball, rugby student athlete,
    Cornell University 2008, Ithaca College, 2009



     “   There are differences between being male and
     female, but being gender fluid doesn’t mean I reject these
     differences, it just means I’m rejecting the idea that I have
     to be defined one way or another. The clear delineation
     between male and female in the sporting world doesn’t
     leave room for someone like me. When I started presenting
     in a more masculine way, I was ostracized in girls’ locker
     rooms, told I was in the wrong bathroom, and even once
     had my gender questioned during a co-ed intramural
     football game. Because athletics are such an important
     part of my life, I deal with these and other inequalities and
     misunderstandings. While I’m prepared to handle it, my
     concern is there aren’t many other people out there who
     are prepared and willing to engage in a dialogue about the
     presence of gender fluid athletes in sport.
                                                   ”


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Intersex—An estimated one in 2,000 babies is born with an “intersex” condition or Difference
of Sex Development (DSD), that is, a reproductive or sexual anatomy and/or chromosome
pattern that doesn’t seem to fit typical definitions of male or female. These conditions include
androgen insensitivity syndrome, some forms of congenital adrenal hyperplasia, Klinefelter’s
syndrome, Turner’s syndrome, hypospadias, and many others. People with intersex conditions
generally identify as men or women, just as people without intersex conditions do. Having an
intersex condition does not necessarily affect a person’s gender identity.

FTM (Female-to-Male)/Affirmed male/transboy—A child or adult who was assigned to the
female gender at birth but has a male gender identity.

MTF (Male-to-Female)/Affirmed female/transgirl—A child or adult who was assigned to the
male gender at birth but has a female gender identity.

Transition—The process by which a transgender individual lives consistently with his or her
gender identity, and which may (but does not necessarily) include changing the person’s
body through hormones and/or surgical procedures. Transition can occur in three ways: social
transition through changes in clothing, hairstyle, name and/or pronouns; hormonal transition
through the use of medicines such as hormone “blockers” or cross hormones to promote
gender-based body changes; and/or surgical transition in which an individual’s body is
modified through the addition or removal of gender-related physical traits. Based on current
medical knowledge and practice, genital reconstructive surgery is not required in order to
transition. Most transgender people in the United States do not have genital reconstructive
surgery.

Transsexual—A person whose gender identity differs from the person’s assigned gender at
birth. Transsexual people do not identify with their birth-assigned genders and desire to live
and be treated by others consistently with their gender identity. In addition to transitioning
socially, transsexual people may also physically alter their bodies surgically and/or hormonally.
This physical transition is a complicated, multi-step process that may take years and may
include, but is not limited to, cross-gender hormone therapy and a variety of surgical
procedures. There is no cookie cutter approach. The precise treatments required vary from
person to person.

Transphobia—Fear or hatred of transgender people. Transphobia is manifested in a number of
ways, including violence, harassment, and discrimination.




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PART FIVE: Appendix B: Legal Status of Transgender P eopl e

Federal, state, and local laws prohibit discrimination on the basis of gender identity/expression.
In addition, many K-12 and collegiate educational institutions have adopted non-discrimination
policies that include gender identity/expression. Each school or school district should be
knowledgeable about specific legal requirements that apply and make sure that all school athletic
staff understand their responsibilities to abide by and enforce these laws.


Federa l P ro tect i ons

        The Employment Non-Discrimination Act (ENDA)—ENDA is a bill that was introduced
        in the 111th U.S. Congress in 2009.22 If passed into law, ENDA would provide basic
        protections against workplace discrimination on the basis of sexual orientation or gender
        identity. The bill is closely modeled on existing civil rights laws, including Title VII of the
        Civil Rights Act of 1964 and the Americans with Disabilities Act. ENDA prohibits public
        and private employers from using an individual’s sexual orientation or gender identity as
        the basis for employment decisions, such as hiring, firing, promotion or compensation.
        ENDA also applies to federal, state, and local government employees.


        The Matthew Shepard and James Byrd, Jr. Hate Crimes Prevention Act (HCPA)—The
        HCPA gives the Department of Justice (DOJ) the power to investigate and prosecute
        bias-motivated violence by providing the DOJ with jurisdiction over crimes of violence
        where a perpetrator has selected a victim because of the person’s actual or perceived
        race, color, religion, national origin, gender, sexual orientation, gender identity or
        disability.23 Furthermore, the HCPA requires the Federal Bureau of Investigation to track
        statistics on hate crimes.24


        Title IX of the Education Amendments of 1972—The purpose of Title IX is to address sex
        discrimination in schools. However, this federal law has also been successfully used to
        address discrimination or harassment in schools based on gender stereotypes.25 When
        gender non-conforming or transgender students are targeted on the basis of their gender
        expression, Title IX may provide the basis for legal recourse.26




22
     H.R. 3017, 110th Cong. (2010).
23
     18 U.S.C.A. § 249.
24
     28 U.S.C.A. § 534.
25
  See Snelling v. Fall Mt. Regional Sch. Dist, 2001 D.N.H. 057, 2001 WL 276975 (D.N.H. 2001); Ricco v. New Haven
Bd. of Educ., 467 F.Supp.2d 219 (D. Conn. 2006); Doe v. Southeastern Greene Sch. Dist., 2006 U.S. Dist LEXIS 12790
(W.D. Pa. 2006).
26
   See 20 U.S.C.A. § 1681 et seq.; Office of Civil Rights, Revised Sexual Harassment Guidance, § III (Jan. 2001)
(“Though beyond the scope of this guidance, gender-based harassment, which may include acts of verbal,
nonverbal, or physical aggression, intimidation, or hostility based on sex or sex-stereotyping, but not involving
conduct of a sexual nature, is also a form of sex discrimination to which a school must respond[.]”).
                                                                                                                             50
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        Equal Protection Clause of the Fourteenth Amendment of the United States Constitution—The
        Equal Protection clause states that “no state shall … deny to any person within its jurisdiction
        the equal protection of the laws.”27 Several successful cases involving allegations of
        harassment and discrimination against lesbian, gay, bisexual, and transgender students and
        staff in public schools have been based on the Equal Protection clause.28


State N on - Di scri m i nat i on Laws

As of July 2010, 13 states and the District of Columbia29 have enacted non-discrimination laws
prohibiting discrimination on the basis of sexual orientation and gender identity or expression:
California,30 Colorado,31 Hawaii,32 Illinois,33 Iowa,34 Maine35, Minnesota,36 New Jersey,37 New Mexico,38




27
     U.S. Const. amend. XIV, § 1.
28
   See, e.g., Flores v. Morgan Hill Unified Sch. Dist., 324 F.3d 1130 (9th Dist. 2003) (equal protection required school
district to enforce policies “in cases of peer harassment of homosexual and bisexual students in the same way that
they enforce those policies in cases of peer harassment of heterosexual students”).
29
   D.C. Code §§ 2-1401.01 et seq. (employment, housing, public accommodation, education, motor vehicle insurance,
access to government facilities and programs), 4-754.21(10) (access to services for homeless persons), 16-914
(custody proceedings), 31-2231-11(c) & 31-2231.13(d) (insurance), 31-1603 (determination by insurance companies of
likelihood of developing AIDS), 43-1507 (companies providing electricity).
30
   Cal. Penal Code § 422.56, Cal. Gov’t Code § 12926 et seq. (non-discrimination in employment and housing), Cal.
Civ. Code § 51 (public accommodations).
31
 Colo. Rev. Stat. Ann. §§ 24-34-401 et seq. (non-discrimination in public accommodation, housing and
employment), 22-32-109 (non-discrimination in education).
32
     Haw. Rev. Stat. §§ 489-2 (non-discrimination in public accommodations), 515-3 (real property transactions).
33
  775 Ill. Comp. Stat. 5/2-102 (non-discrimination in employment, public accommodations, real estate transactions,
and access to financial credit).
34
  Iowa Code Ann. § 216.1 et seq. (non-discrimination in public accommodation, employment, housing, credit, and
education).
35
  Me. Rev. Stat. Ann. tit. 5, § 4552 et seq. (non-discrimination in employment, housing, public accommodation,
credit and education).
36
  Minn. Stat. Ann. § 363A.03 et seq. (non-discrimination in public accommodation, housing, employment, credit,
and education).
37
  N.J. Stat. Ann. §§ 10:5-4 (non-discrimination in employment, housing, and public accommodation), 18A:37-14
(education).
38
     N.M. Stat. Ann. § 28-1-2 et seq., (non-discrimination in public accommodation, employment, housing and credit).




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Oregon,39 Rhode Island,40 Vermont,41 and Washington.42

Eight additional states have enacted laws prohibiting discrimination based on sexual orientation
only: Connecticut, Delaware, Maryland, Massachusetts, Nevada, New Hampshire, New York, and
Wisconsin.43

Additionally, courts and administrative bodies in seven states have interpreted state laws against
sex discrimination to prohibit discrimination against transgender and gender nonconforming
people: California, Connecticut, Florida, Massachusetts, New Jersey, New York, and Pennsylvania.
Courts and administrative bodies in seven states have also held that transgender people are
protected by state laws prohibiting discrimination based on disability or medical condition: Florida,
Illinois, Massachusetts, New Hampshire, New Jersey, New York, and Washington.44


State Stu d ent Ri ght s Laws

In addition to these federal protections, as of July 2010, twelve states and the District of Columbia45
have enacted laws protecting students in schools from discrimination or harassment on the
basis of sexual orientation or gender identity: California, Colorado, Illinois, Iowa, Maine, Maryland,




39
  Or. Rev. Stat § 174.100(6), Or. Rev. Stat. §§ 659A.003 et seq. (non-discrimination in public accommodation,
employment, and housing), 101.115(3) (non-discrimination it retirement communities), 179.750(2) (state institutions),
240.306(1) (state employees), 418.648(10) (selection of foster parents), , 430.550 (drug abuse diversion programs),
443.739(19) (adult foster care), 458.505(4)(h) (community service programs hosted by a community action
agency), 659.850(2) (education), 744.382(4) (making life settlement contracts), 10.030(1) (jury service).
40
  R.I. Gen. Laws § 11-24-2 (public accommodation), R.I. Gen. Laws 1956 §§ 28-5-7 (employment), 28-5.1-4(a) (state
employees), 34-37-4 (housing), 34-37-5.4 (residential real estate transactions).
41
  Vt. Stat. Ann. tit. 3, §§ 961(6) (state employees), 963 (state employee organizations), 1026(6) (judiciary
employees), 1028 (judiciary employee organizations), 1621 (union membership); Vt. Stat. Ann. tit. 8, §§ 4724(7)
(B) &(C) (insurance), 10403 (credit cards, loans, mortgages, and commercial loans); Vt. Stat. Ann. tit. 9, §§ 2362
(motor vehicle retail installment contracts), 2410 (retail installment contracts), 2488 (agricultural finance leases),
4502 (public accommodations), 4503 (housing); Vt. Stat. Ann. tit. 16, §§ 11, 565 (education); Vt. Stat. Ann. tit. 21, §§
495(a) (employment), 1726 (municipal employees).
42
  Wash. Rev. Code §§ 48.30-300 (insurance), 49.60.175 (credit), 49.60.180 (employment), 49.60.190 (labor unions),
49.60.215 (public accommodation), 49.60.222 (housing).
43
    See Conn. Gen. Stat. § 46a-81a et seq. (employment, public accommodations, housing, credit); Del Code Ann.
tit. 6, §§ 4500 et seq. (public accommodation), 4601 et seq. (housing), Del. Code Ann. tit. 19, § 710 (employment);
Md. Code Ann., State Gov’t §§ 20-304 (public accommodation), 20-705 (housing), 20-606 (employment); Mass.
Gen. Laws Ch. 151B §1 et seq. (generally), Mass. Gen. Laws Ch. 272 §§92A, 98 (public accommodation); Nev. Rev.
Stat. §§ 613.330 (employment), 651.070 (public accommodation); N.H. Rev. Stat. Ann. §§ 354-A:7 (employment),
354A-10 (housing), 354-A:17 (public accommodations); N.Y. Exec. Law § 296 (employment, public accommodations,
housing, credit), N.Y. Civ. Rights § 40-c (public accommodations); Wis. Stat. §§ 106.50 (housing), 106.52 (public
accommodation).
44
   For a comprehensive discussion of state court and administrative decisions applying sex and disability
discrimination to transgender plaintiffs, see www.nclrights.org/site/DocServer/state_cases091004.pdf?docID=1203.
45
     D.C. Code 1981 §§ 2-1401.02 & 2-1402.41.



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Minnesota, New Jersey, North Carolina, Oregon, Vermont, and Washington.46 Four additional states
offer protections on the basis of sexual orientation only: Connecticut, Massachusetts, New York,
and Wisconsin.47


I ndividua l S chool or School Dist rict  No n - D is c rim in at io n Po licie s

For a list of colleges and universities that have enacted non-discrimination policies that include
gender identity/expression, refer to the following list created by the Transgender Law and Policy
Institute: www.transgenderlaw.org/college/index.htm#policies

For a list of K-12 school districts that have enacted non-discrimination policies that include gender
identity/expression, refer to the following list created by the Transgender Law and Policy Institute:
www.transgenderlaw.org/college/index.htm#schools

American Bar Association

The American Bar Association (ABA) opposes discrimination against those who are transgender
or gender non-conforming. The ABA is a national organization of lawyers, law students and
judges, and is the largest voluntary professional association in the world, with more than 400,000
members. The control and administration of the ABA is vested in the House of Delegates, which
is the policy-making body of the Association. In 2006, the ABA House of Delegates adopted
a recommendation that all federal, state, local, and territorial governments enact legislation
prohibiting discrimination on the basis of actual or perceived gender identity or expression, in
employment, housing, and public accommodations.48




46
   See Cal. Educ. Code §§ 220, 210.7, 212.6, & 51500; Colo. Rev. Stat. §§ 2-4-401(13.5), 22-32-109(ll)(I), 12-59-106(1)
(s), 22-30.5-104(3), 22-30.5-507(3), & 22-38-104(1)(d); 775 Ill. Comp. Stat. Ann. 5/1-102(A), 775 Ill. Comp. Stat. Ann.
5/1-103(O-1), (Q), & 775 Ill. Comp. Stat. Ann. 5/5-101(A)(11); Iowa Code §§ 216.9, 280.28; Me. Rev. Stat. Ann. tit. 5, §§
4552, 4553(9-C), 4601, & 4602(4); Md. Code Ann Educ. §§ 7-424; Minn. Stat. §§ 363A.03 subd. 44, 363A.13; N.J.
Stat. Ann. §§ 10:5-5, 10:5-12(f)(1), & 18A:37-14; N.C. Gen. Stat. §§ 115C-407.15, 115C-407.16; Or. Rev. Stat. §§ 659.850,
174.100, 339.351(d)(3), & 338.125; Vt. Stat. Ann. tit. 16, §§ 1, 11 & 565; Wash Rev. Code §§ 49.60.030 & 49.60.040(2),
(26).
47
   Conn. Gen. Stat. § 10-15c; Mass. Gen. Laws. Ch. 76, § 5; N.Y. Exec. Law §§ 291(2), 292(9) & (27) & 296(2); Wis. Stat.
§ 118.13.
48
   See A.B.A. Recommendation 122B (adopted August 7-8, 2006) available online at http://www.abanet.org/
leadership/2006/annual/dailyjournal/hundredtwentytwob.doc (recognizing that “[t]ransgender people are
disproportionately likely to face discrimination” and that “many individuals who are not transgender continue to
suffer discrimination . . . because they do not comply with gendered stereotypes.”).




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PA RT F IV E: A ppe n dix C

Equal Opportunity for Transgender student athletes
A National Think Tank, October 25-26, 2009: Participants



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University of Minnesota Medical School                      Education Campaign for LGBT Issues in Sport, An
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Northeastern College 2010                                   National Center for Lesbian Rights
                                                            San Francisco, Calif.


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                                           NATIONAL CENTER FOR LESBIAN RIGHTS


                                             SPORTSPROJECT                          www.nclrights.org


The National Center for Lesbian Rights is a national legal organization committed to advancing the civil and
human rights of lesbian, gay, bisexual, and transgender people and their families through litigation, public
policy advocacy, and public education.




                                                         www.womenssportsfoundation.org



Founded in 1974 by Billie Jean King, the Women’s Sports Foundation is a national charitable educational
organization dedicated to advancing the lives of girls and women through physical activity. The Women's
Sports Foundation is the only national organization promoting all sports and physical activities for women of
all ages and skill levels. The Foundation's goal is to create a society in which girls and women of all ages fully
experience and enjoy sports and physical activity with no barriers to their participation.




                                                                                www.ittakesateam.org


It Takes A Team! Education Campaign for Lesbian, Gay, Bisexual and Transgender Issues in Sport is an education
and advocacy initiative of the Women's Sports Foundation. Our goal is to eliminate barriers to safe and respect-
ful sports participation for all people regardless of their sexual orientation or gender identity. It Takes A Team
works toward this goal through the development and dissemination of practical educational information and
resources to athletic administrators, coaches, parents and student athletes at the high school and college levels.




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                          September 20, 2022


 NCAA Transgender Student-Athlete
         Participation Policy:
Clarifying Application and Next Steps
                                                         Dr. Jean Merrill, Director, Office of Inclusion
                                                               Mallory Mickus, Associate Director, SSI
                                                                            Anne Rohlman, Director, SSI




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Scope of Presentation and Legal Disclaimer
• Presentation is designed and intended for use by the NCAA membership.

• Scope is limited to key components of the published policy, related procedural guidance
  and supporting educational materials.

• Staff may not share information about the discussions/deliberations of the NCAA Board
  of Governors or other governance committees involved in policy decision-making or any
  other non-public, confidential information.

• It is intended as a resource and not a substitute for legal or other professional advice.




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Webinar Overview




   Language and                          Reminder of Policy                                    Phase 1
   Understanding                             Updates                                           Review




    Phase 2 and 3                              Resources                                            Q&A
     Clarification


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Language and Understanding




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• Gender identity: one’s internal sense of their own gender. This does not
  have to match one's sex or gender assigned at birth. Though it often
  does as most people are not transgender.

• Sex/Gender assigned at birth: the designation of a newborn child's sex or
  gender based on inspection of their external genitalia.

   • Note: "sex/gender assigned at birth" is a more inclusive phrase than
     “biological male” or "born male"; or “biological female" or “born female."

• Gender expression: ways in which a person communicates their gender
  identity to others through behavior, clothing, haircut, voice, name,
  pronouns, and other forms of self-presentation.



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• Transgender/Trans: an adjective used to describe a person who does not
  identify as the gender they were assigned at birth.
   • Trans man/male: a man assigned female at birth.
   • Trans woman/female: a woman assigned male at birth.
      • Note: References to "FTM" or "MTF" may be problematic for some
        trans persons.


• Cisgender/Cis: an adjective used to describe a person who identifies as the
  gender they were assigned at birth.
   • Cis man/male: a man assigned male at birth.
   • Cis woman/female: a woman assigned female at birth.



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• Non-Binary: Term used to describe a person who does not identify with the male/female
  gender binary. For some, this means identifying somewhere between male and female; for
  others, it means identifying as a combination of genders; for others, it means not having a
  gender identity.

   • Genderqueer, gender expansive, gender non-conforming: terms similar to non-binary
     that a person may choose to use when their gender identity is neither male nor female.

• Transition: any step(s) a person takes to affirm their gender identity; this may or may
  not include changes in one's name, pronouns, physical appearance, taking hormones,
  undergoing surgery, among many others. There are various ways through which an
  individual can choose to transition.

• Misgender: the act of referring to someone in a way that does not reflect that person's
  gender identity (e.g., using deadnames or incorrect pronouns or prefixes).

• Deadname: the name someone was given or used before they transitioned and/or discovered
  their true gender identity.

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Language and Application to NCAA Policy
• NCAA sports historically have been categorized according to the
  participant’s sex assigned at birth (male and female sports).

• Transgender Student-Athlete Participation Policy (TSAP) applies to any SA
  who plans to compete in an NCAA sport that does match the SA’s sex
  assigned at birth.

    o Applies to a multitude of identities (e.g., transgender, nonbinary,
      genderqueer).

• TSAP does not apply to intersex SAs, whose reproductive anatomies do
  not fit traditional definitions of male or female.

• TSAP does not factor a SA’s sexual orientation.
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Transgender Student-Athlete
    Participation Policy



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 ncaa.org/transgender




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     2022 Policy Updates




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2022 Update to NCAA Policy
    Competitive Safeguards and                                                Board of Governors
     Medical Aspects of Sports                                               Highest governing body
             Association-wide
                                                                                  25 members
                23 members
                                                                     Presidents/chancellors & 5 independent
       Medical personnel and athletics
               administrators                                                      members


                                               Consensus:
1. Testosterone thresholds can facilitate and support fair competition while providing participation
   opportunities for trans athletes.
2. Consistency with Olympic model intended to provide continuity for student-athletes. Deference to
   sport-specific rules intended to rely on those who have studied and manage potential impact in the
   sport.
3. Flexibility should be considered for SAs who lose eligibility, but are able to meet requirements in the
   future.
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2022 Update to NCAA Policy
Alignment with Olympic Movement to balance fairness, inclusion and well-being.

January 2022: BOG adopts policy as recommended by CSMAS:
1. Trans student-athletes must continue to meet 2010 policy; and
2. Meet sport-specific eligibility requirements reviewed and approved by
   CSMAS, in each case to be informed by national governing body policy (or
   international federation policy or 2015 IOC policy).
3. Implemented over three phases:
     a.   Phase One: 2022 Winter/Spring - Championship competition, testosterone thresholds apply.
     b.   Phase Two: 2022-23 academic year - All competition, testosterone thresholds apply.
     c.   Phase Three: 2023-24 academic year and beyond - All competition, all sport-governing policy
          components considered.



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1. Meet 2010 Transgender SA Participation Policy.
          Trans Men                                                       Trans Women
• A trans man with a medical                             • A trans woman may not compete
  exception for testosterone                               on a women’s team until
  may compete on a men’s                                   completing one calendar year of
  team but not on a women’s                                testosterone suppression
  team.                                                    treatment.

• A trans man who is not                                 • Managed by student-athlete’s
  taking hormone treatment                                 institution, unless medical
  may compete on a men’s or                                exception is needed.
  women’s team.


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2. Meet Sport-Specific Eligibility Requirements.
Examples of Trans Athlete Policy Components

1. Testosterone Threshold.                                                                       Applicable
                                                                                             Phase One and Two
   • E.g., 5 nmol/L.

2. Length of Testosterone Mitigation and Maintenance.
   • Requirement that testosterone threshold be continuously met for
                                                                                                                      For
     specific number of months (e.g., 12 months).                                                                consideration
   • Requirement to maintain testosterone threshold level throughout period                                        in Phase
     of participation.                                                                                               Three

3. Additional policy considerations.
   • E.g., gender declaration, case-by-case review, gender-affirming surgery,
     birth certificate aligns with gender identity, proof of mitigated advantage.

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3. Implemented Over Three Phases.
      Phase One                               Phase Two                                    Phase Three
  2022 Winter/Spring                  2022-23 Academic Year                         2023-24 Academic Year
• Only impacted trans                •Impacts all competition.                      • All parts of applicable
  women.                                                                             sport-governing policy to
                                     •Additional eligibility                         be considered by
• Only impacted                       documentation                                  CSMAS, including:
  championship                        submission
  competition.                        requirements.                                  o Length of testosterone
                                                                                       mitigation; and
• 2010 NCAA policy; and              • Only testosterone
                                       threshold component of                        o Other requirements.
• One-time sport-specific              sport-specific policy apply.
  testosterone threshold.                                                           • May impact trans men.
                                     •Only impacts trans
                                      women.



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                    Phase Two




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Policy Authority
                                                       BOG retains ultimate
                                Board of
                                                       authority for TSAP oversight,
                               Governors
                                                       including CSMAS decisions.




                                                             BOG delegated authority
                                                             for operational decisions
                                                             and policy clarifications
                                                             to CSMAS.

                                CSMAS

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Phase 2 Policy Clarifications (2022-23 Academic Year)


                                             Mid-Cycle                                       Eligibility
     Testosterone                                                                          Documentation
      Thresholds                              Policy
                                                                                            Submission
                                             Changes


  Set Phase 2 thresholds              Clarified that should a                       Clarified submissions must
  for 2022-23 academic                sport governing body                          occur:
  year (including                     change its policy after the                   o Annually (prior to initial
  emerging sports).                   NCAA releases its                               traditional and
                                      eligibility requirements for                    nontraditional competition);
  All thresholds align                an academic year, the                           and
  with relevant sport-                published requirements
  governing policies.                 will not be reconsidered                      o Prior to NCAA
                                      for that academic year.                         championship competition.

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Submission Requirements




         Traditional

                                                                   Championship
     Annual Eligibility
                                                                     Eligibility
       Submission
                                                                    Submission
            Non-
         Traditional

1                                                 2
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Annual Submission Requirements

                                                                    Softball
                Softball
                                                            Submit again before
            Traditional
             Submit before                                   Non-traditional
                                                           traditional competition
             nontraditional
                                                                   in spring
            competition in fall


• Competition season refers to both traditional and non-traditional
  segments; and
• Eligibility must be reviewed by Medical Review Panel before the SA
  competes in each segment.



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Annual Submission - Multi-Sport Student-Athletes
• At least twice per academic year:
   1. Before initial contest in fall term; and
   2. Before initial contest of an additional sport in the following academic
      term.



              XC                    Indoor                     Outdoor


               Fall Term                       Next Academic Term




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Championship Submission

• Same as Phase 1.
• Submit if possibility SA will qualify for championship.




     4                                                 1
            Lab results                                            Submit > one week
            within four                                            before championship
            weeks of the                                           selections.
            championships




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Medical Review Process

     Who                                    What                                      When
•CSMAS Medical                •Eligibility Review                            • Submitted at least
 Review Panel.                Form, including                                  one week prior to
 o Anonymous                  medical professional                             initial competition
   review.                    attestation.                                     of relevant season
                              •Evidence of Serum                               or championship.
 o Communication
   with school-                Testosterone Level.
   identified                    o Lab must be within
                                   four weeks of
   contact only.                   competition.

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 Phase Three/Simplification
Consideration of all components of sport-governing policies.




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Phase 3: Seeking Consolidation and Simplification
• Acknowledgement that trans athlete policies should be regularly reviewed
  and updated based on quickly-evolving landscape.

• CSMAS, in collaboration with relevant experts, will:

    o Continue to evaluate policy and related eligibility requirements.

    o Consider emerging medical and scientific information, trends in policy landscape
      and possible sport “classification” (e.g., contact, endurance, power and skill sports).

    o Aim to pro-actively prioritize simplification while balancing objectives of inclusion,
      fairness and well-being.

    o Develop consensus-driven foundational principles that will drive possible new
      policy.


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Membership Guidance – Phase Three
CSMAS will not recommend the Board of Governors include eligibility
criteria from sport-governing policies that are determined to be
fundamentally inconsistent with NCAA’s values of fairness, inclusion and
student-athlete well-being. For example:

    Complete                                            Gender                             Gender
   Prohibition            Surgery                   Determinations                        Challenges



                                                    (e.g., review panel, align         (e.g., won’t use Drug-
                                                    with ID docs, physical             Testing Program to
                                                    evaluation)                        respond to challenge)



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Resources and Support




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Gender Identity Summit
• Commissioned in October 2020 with over 60 participants.

• Brought together experts in inclusion, endocrinology, athletics
  administrators, cisgender student-athletes, transgender and nonbinary
  (TGNB) student-athletes, and other external stakeholders.
    • Included representatives from the Committee to Promote Cultural Diversity and
      Equity (CPCDE) and Committee on Competitive Safeguards and Medical Aspects
      in Sports (CSMAS).

• Consensus statements were developed for consideration by governance
  groups, not membership requirements.


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Additional Resources
• Inclusion page on ncaa.org (core area: LGBTQ).

• Sport Science Institute page on ncaa.org.

• Gender Identity and Student-Athlete Participation Summit Outcomes (Final
  Report).

• Champions of Respect.

• Five ways to have an LGBTQ-inclusive athletics department.

• Inclusion of Transgender Student-Athletes Best Practices Handbook.

• NCAA Inclusion Forum.

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         ssi@ncaa.org                                              inclusion@ncaa.org

Contact Sport Science Institute                         Contact office of inclusion for
for questions on policy                                 questions on creating inclusive
application or document                                 environments or related
submission.                                             resources.




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5 Ways to Have an
LGBTQ-Inclusive
Athletics Department


   1       LGBTQ-Inclusive Nondiscrimination Policies
           Athletics departments should have a written nondiscrimination policy that explicitly
           covers “sexual orientation,” “gender identity” and “gender expression" to protect lesbian,
           gay, bisexual, transgender and questioning people.




   2       LGBTQ-Inclusive Codes of Conduct
           Athletics departments should ban anti-LGBTQ conduct by players, coaches, athletics
           administrators and fans.
             eam Code of Conduct: Teams should be encouraged to create codes of conduct
             T
             outlining consequences for engaging in homophobic and transphobic behaviors.
             an Code of Conduct: Fans should not be subjected to discriminatory language
             F
             and behavior by those on the field or in the stands. Values and expectations should be
             communicated to fans via the school’s official fan code of conduct.



   3       Communications
           Athletics departments should ensure all media communications and recruiting materials
           (media guides, community outreach, team camp brochures, etc.) include a nondiscrimination
           clause and use LGBTQ-inclusive language.




   4       Accessible Resources
           Athletics departments should maintain up-to-date LGBTQ inclusion resources that are readily
           available to coaches, players and staff throughout the year.




   5       Annual LGBTQ Inclusion Trainings for Staff and Students
           Athletics departments should hold timely mandatory training sessions that review policies
           and codes of conduct, as this is essential to creating LGBTQ-inclusive environments.


   For samples of policies and codes of conduct, go to https://www.ncaa.org/about/
   resources/inclusion/five-ways-have-lgbtq-inclusive-athletics-department#ADH.




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                        LGBTQ Terminology and Definitions

Sex Assigned at Birth: Refers to the designation of a newborn child’s sex based on inspection of
their external genitalia.
Gender Identity: One’s inner concept of self as male or female or both or neither.
Gender Expression: Refers to the ways in which a person communicates their gender identity
to others through behavior, clothing, haircut, voice, name, personal pronouns and other forms of
self-presentation.
Transgender: An adjective describing a person whose gender identity does not match their sex
assigned at birth.
Transitioning: The process by which a transgender person strives to live consistently with their
gender identity (Male to female or female to male, for example). Transitioning may include
changing behavior, names, pronouns, clothing, hairstyles and other appearance related character-
istics. Transitioning may also, but not necessarily, include surgically changing one’s body or tak-
ing or suppressing hormones.
Cisgender: An adjective describing a person whose gender identity is consistent with their sex
assigned at birth.
Non-Binary: Describes a person whose gender identity is not either male or female. A non-
binary person may feel some mix of both male and female, somewhere in between, or something
completely different. Other terms that are similar to 'non-binary' are genderqueer, gender expan-
sive, and gender nonconforming.
Gender Fluid: Describes a person whose gender identity and expression are not fixed and can
vary at any time.
Sexual Orientation: Describes a person’s sexual attraction to other people. “Heterosexual” (or
“straight”) describes a person attracted to people of a different sex. “Lesbian” describes a woman
attracted to women. “Gay” describes a man attracted to men (“Gay” is also used as an umbrella
term referring to both lesbians and gay men). “Bisexual” or “pansexual” describe someone at-
tracted to people of any sex.
Queer: Historically a slur used to demean lesbian and gay people, queer is now a self-
description preferred by many lesbian, gay, bisexual and transgender people (especially younger
people) as a challenge to traditional sex and gender expectations or labels and to reclaim the
word in a positive way from its historically negative use.
LGBTQ: A short-hand way to refer to lesbian, gay, bisexual, transgender, queer people. The
“Q” can also refer to people who are questioning their sexual orientation or gender identity.
Heterosexual or Cisgender Ally: A description for heterosexual and cisgender people who take
actions to support LGBTQ people and address prejudice and discrimination against LGBTQ
people.
View Champions of Respect — Inclusion of LGBTQ Student-
Athletes and Staff in NCAA Programs resource here.




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